Exhibit 4
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Suicide Terrorists in the Current Conflict




       September 2000 - September 2007

                                              L_C089061
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                                      Suicide Terrorists in the Current Conflict

Foreword
Since September 2000, the State of Israel has been in a violent and ongoing conflict with the Palestinians, in which
the Palestinian side, including its various organizations, has carried out attacks against Israeli citizens and residents.


During this period, over 27,000 attacks against Israeli citizens and residents have been recorded, and over 1000
Israeli citizens and residents have lost their lives in these attacks. Out of these, 155 (May 2007) attacks were suicide
bombings, carried out against Israeli targets by 178 (August 2007) suicide terrorists (male and female). (It should be
noted that from 1993 up to the beginning of the conflict in September 2000, 38 suicide bombings were carried out
by 43 suicide terrorists).
Despite the fact that suicide bombings constitute 0.6% of all attacks carried out against Israel since the beginning of
the conflict, the number of fatalities in these attacks is around half of the total number of fatalities, making
suicide bombings the most deadly attacks. From the beginning of the conflict up to August 2007, there have
been 549 fatalities and 3717 casualties as a result of 155 suicide bombings.
Over the years, suicide bombing terrorism has become the Palestinians’ leading weapon, while initially bearing an
ideological nature in claiming legitimate opposition to the occupation. However, during the period of conflict, a
trend emerged in which ideological motives declined in comparison to growing financial motives. Terrorist
headquarters initiate and control terrorist activities by transferring large sums of money to operatives in the field,
who earn a living from directing terrorist activity, and don’t necessarily act out of pure ideological motives. In
many cases the terrorists enlisted to carry out suicide bombings are Palestinians with social or financial problems,
who agree to carry out the attack in exchange for the promise that the terrorist organization, for which they are
carrying out the attack, will take care of their family financially after their death.
With the establishment of the buffer zone, which makes it more difficult for terrorist organizations to carry out
attacks, terrorist organizations have increased their use of “weak” populations, such as: minors, women, sick
persons, persons suffering from a negative social image etc., for carrying out suicide bombings, while exploiting
their personal situations and their innocent appearances in an attempt to deceive security forces at the various
inspections.


This booklet presents an overview detailing the perpetrators of suicide bombings over 7 years of conflict with
the Palestinians, from September 2000 to August 2007.




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                                       Suicide Terrorists in the Current Conflict


Suicide terrorists - Personal Characteristics
It is not possible to sketch a single profile of a suicide terrorist in the Israeli-Palestinian conflict, as characteristics of
suicide terrorists have been constantly changing throughout the years.
Below are a number of principal characteristics, which demonstrate the changes throughout the years:


Age of the Suicide terrorists - the vast majority of suicide terrorists are young persons aged 17-24.
During 2004 their age somewhat decreased: The phenomenon of minor suicide terrorists (under the age of 17)
increased. Furthermore, the phenomenon of older suicide terrorists, which was in fact reduced in previous years,
almost completely “disappeared,”.


Marital Status - the vast majority of suicide terrorists are single, with only a minority of them being married, a fact
which is directly related to the young age of the suicide terrorists.


Education - the majority of suicide terrorists are educated. Between the years 2000 - 2003, 22% of them had
completed higher education, 34% had graduated from high school, 9% had completed elementary school, and the
rest - unknown (although it is highly likely that they have completed elementary and high school education, and not
higher education).
In 2004 there was a fall in the percentage of those who had completed higher education (8%) and high school
education (8%).


Origin of the Suicide terrorists - between the years 2000 - 2003 most of the suicide terrorists originated from
Samaria (64%) and Judea (17%). Throughout 2004 there was a significant increase in the proportion of suicide
terrorists who were citizens of the [Gaza] Strip (44% compared to 16% in previous years), while there was a parallel
decrease in the proportion of suicide terrorists from Samaria (44%) and Judea (17%).




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                 Suicide Terrorists in the Current Conflict


Suicide Terrorists Over 7 Years of Conflict - Geographical Data
                Suicide terrorist characteristics profiled by age




Under 18                                     Over 35




           Suicide terrorist characteristics profiled by marital status




   Single Married Divorced Widow/er
                                        3
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                       Suicide Terrorists in the Current Conflict

               Suicide terrorist characteristics profiled by place of residence




“Green Line”      Abroad        Judea     Samaria     [Gaza] Strip Jerusalem


                   Suicide terrorist characteristics profiled by education




                Unknown Elementary High School Higher



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                                     Suicide Terrorists in the Current Conflict


Suicide Attacks since the Beginning of the Conflict

                             January 29, 2007: Suicide terrorist detonation in Eilat,
                                                  3 killed, 1 injured


                                                         ***


                      November 23, 2006: Female suicide terrorist detonation in Jabalia,
                                                      3 injured


Fatima Najar - A resident of Jabalia, aged 64, who detonated herself near IDF forces east of Jabalia refugee camp.
The suicide terrorist was a mother of 6 and a grandmother, and is the oldest suicide terrorist to date. The Hamas
organization claimed responsibility for the attack.


                                                         ***


                   November 6, 2006: Female suicide terrorist detonation in Beit Hanoun,
                                                      1 injured


 Mirfat Mas’oud - A resident of Jabalia, aged 18, who detonated herself near IDF forces who were in Beit Hanoun
  as part of the “Autumn Clouds” operation to eradicate Qassam attacks. The attack was carried out by the Islamic
                                   Jihad infrastructue in the northern [Gaza] Strip.


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                                      Suicide Terrorists in the Current Conflict



                             April 17, 2006: Suicide terrorist detonation in Tel Aviv,
                                                  11 killed, 64 injured


Samer Hamad - A resident of Araka in the Jenin area, aged 22, who detonated himself near a falafel stand in the
old Tel Aviv central bus station. The attack was carried out under the instruction of Aliyas Ashqar and Ma’tasim
Ga’ara, senior Islamic Jihad operatives from the Tulkarem area who were killed in a defense forces activity around
a month after the attack.
Ashqar was responsible for manufacturing the explosive device used by the suicide terrorist and also for the
preparation, filming and dispatching of the suicide terrorist to the target of the attack in Israel.
The suicide terrorist was led into Tel Aviv by Muhammad Amoudi, an Islamic Jihad operative from Burqin who
stated in his interrogation that he made several trips to Tel Aviv using transporters of illegal aliens before the attack,
with the aim of gathering information on suitable destinations for an attack and to check the routes into Tel Aviv.
On the day of the attack, Amoudi and the suicide terrorist left Jenin for Ramallah and from there to Anata where
they got into the vehicle of Fawaz Rajbi, a Jerusalem citizen with a blue [Israeli] ID card who would often transport
illegal aliens continuously for a number of months before his arrest. Rajbi drove the two to Tel Aviv, but in his
interrogation with the Israeli Security Agency he claimed that although he was aware of the possibility of
transporting a terrorist into Israeli territory as part of his transportation of illegal aliens, he did not know that he was
transporting a suicide terrorist on the day of the attack.
Several hours after the suicide terrorist detonated himself in Tel Aviv, Amoudi was arrested in Jaffa, following
precise information held by the Israeli Security Agency. In addition, further persons were arrested, suspected of
involvement in the execution of the attack.
The instructions and funding for the aforementioned attack came straight from the Islamic Jihad military
headquarters in Syria.




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                                      Suicide Terrorists in the Current Conflict


              March 30, 2006: Suicide terrorist detonation in a vehicle in the Kedumim area,
                                                         4 killed


Ahmad Musharaqa - A resident of Al Burj in the Hebron area, aged about 24, who hitchhiked in the Kedumim
area and detonated himself during the drive with the four vehicle passengers who were killed as a result of the
explosion. The attack was carried out under the instruction of Dawud Qatouni and Hani Hashash, Tanzim
operatives from Nablus, who were killed in a defense forces operation several months later.
The suicide terrorist was led by Anas Alan, a Tanzim operative from Qalqilya, who admitted in his interrogation
that he had received an explosive belt from Qatouni and Hashash in Nablus, which he had hidden under the rear seat
of his vehicle. At the request of the two, he drove to meet the suicide terrorist in the Qalqilya area, where he gave
him the belt. Alan then drove the suicide terrorist to the Karnei Shomron shuttle station.
The suicide terrorist started to walk to the Karnei Ginot intersection while wearing the explosive belt, where he
started to signal to Israeli vehicles to stop for him. An Israeli vehicle with four Israeli passengers stopped for the
suicide terrorist and let him into the vehicle. The suicide terrorist detonated himself inside the vehicle near the
Kedumim intersection and caused the deaths of the four Israelis.


                                                           ***
                     January 19, 2006: Suicide terrorist detonation in Tel Aviv, 26 injured


Sami Antar - A 19-year-old from Nablus, who detonated himself near the “Rosh Ha’ir” shawarma stand on Neve
Sha’anan Street in Tel Aviv. As a result of the explosion, 26 Israelis were injured.
The attack was carried out under the instruction of Hamza Muhammad and Ahmad Araishi, Islamic Jihad
operatives in Nablus, who were arrested after the attack. Araishi obtained the explosive belt, equipped the suicide
terrorist with it and provided him with taxi fare so that he could get into Israel.


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                                     Suicide Terrorists in the Current Conflict

         December 29, 2005: 2 Suicide terrorist detonations near IDF forces in the Tulkarem area,
                                               one killed and 3 injured


Suheib Ajami - A resident of Attil in the Tulkarem area, aged 18, left on the morning of December 29 along with
Alaa Sa’di, a resident of the Jenin refugee camp, aged 21, with the intent of carrying out a double suicide attack in
the industrial zone at the entrance into Rosh Ha’ayin.
The two were dispatched for the attack by the Islamic Jihad network in Tulkarem and Jenin under the instruction of
Nidal Abu Sa’ada, a senior Islamic Jihad operative who was killed by IDF forces around a month later.
The two left Tulkarem while in the possession of two explosive belts and boarded a taxi with the aim of arriving in
Kalandia, where they planned to leave for Rosh Ha’ayin. On their way they were stopped at an IDF checkpoint north
of Far’oun which was set up following intelligence information from the ISA concerning intentions to carry out an
attack on the Israeli hinterland. During the checkpoint inspection, the suicide terrorists detonated themselves. The
explosion killed one IDF officer and injured three other soldiers.


                                                              ***


              December 5, 2005: Suicide terrorist detonation in the HaSharon mall in Netanya,
                                               5 killed and 61 injured


Lutfi Abu Sa’ada - A resident of Illar in the Tulkarem area, aged 21. The attack was carried out under the
instruction of the suicide terrorist’s cousin - Nidal Abu Sa’ada a senior Islamic Jihad operative who was killed by
IDF forces around two months later. The Islamic Jihad organization claimed responsibility for the attack in which 5
Israeli citizens were killed and a further 61 were injured.


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                                      Suicide Terrorists in the Current Conflict


                       October 26, 2005: Suicide terrorist detonation in a Hadera market,
                                                6 killed and 27 injured


Hassan Abu Zeid - A resident of Qabatiya, aged 19, detonated himself in a market in Hadera on October 26, 2005.
The attack was carried out under the instruction of Nidal Abu Sa’ada, a senior Islamic Jihad operative from
Tulkarem. The suicide terrorist was led by Muhammad Qashu'a, an Islamic Jihad operative, resident of Illar. On the
day of the attack, Qashu'a and the suicide terrorist left Tulkarem and drove to Kalandia, where they boarded a taxi
which took a route which bypassed Jerusalem and from there on the Cross Israel Highway up to Jatt.
In Jatt, the two joined with Fakhri Mansour, who lives in Jatt following a family unification, who drove the two to
Hadera. Mansour would often transport illegal aliens from the Judea and Samaria area into Israeli territory, and in
Qashu'a’s interrogation it was revealed that Mansour had already understood at the beginning of the journey that he
was transporting a suicide terrorist, yet continued to drive to Hadera.


                                                            ***


               August 28, 2005: Suicide terrorist detonation in the Be’er Sheva central station,
                                                        49 injured


Abd al-Rahman Qisiya - A resident of Daharia, aged 19, worked in construction in the Negev. On the day of the
attack the suicide terrorist easily crossed the border in the absence of a fence, arrived at the central bus station in
Be’er Sheva, where he was spotted by two security guards, who prevented him from detonating himself in the heart
of the crowd, and were severely injured as a result of the blast, as well as 47 more Israelis who were injured in the
attack.
The attack was carried out by the network led by 3 Hamas operatives from Daharia: Hussam Qisiya, Yusef Qisiya
and Haytham Batat. The network was also responsible for a series of gunfire attacks, as of November 2001, among
which was a shooting at an IDF vehicle south of Mt. Hebron in February 2005, in which 4 people were injured. In
Hussam Qisiya’s handover of weapons, explosive devices and raw materials for making explosive devices were
handed over.


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                                      Suicide Terrorists in the Current Conflict


                  July 12, 2005: Suicide terrorist detonation near a shopping mall in Netanya
                                                5 killed and 88 injured


Ahmad Gawi - A resident of Atil, aged 18, detonated himself near a shopping mall in Netanya. The attack was
carried out by the Islamic Jihad network in Tulkarem. Nidal Abu Sa’ada, a senior Islamic Jihad operative,
commanded and controlled the execution of the attack from the Special Forces headquarters in Tulkarem, despite
being apparently arrested by the system.
Investigation of the attack revealed that the terrorist and his director, Asef Zaharan, a resident of Illar, entered
Israeli territory using two Israeli citizens, transporters of illegal aliens, which they had already been doing for
several months according to their confessions in the Israeli Security Agency interrogation. The two, Kfir Levy, a
resident of Ramat Gan, and Sayf Azem, a resident of Tayibe, admitted in their interrogation that on the day of the
attack they had transported two West Bank residents to Tayibe in Israel via IDF checkpoint “Tsofin,” after Levy had
taken advantage of the fact he is a Jew who does not get checked at checkpoints.
In addition Abd al-Rahman Abu Muh, a resident of Baqa al-Gharbiyyeh, who admitted in his interrogation that he
picked up the suicide terrorist and his companion in Tayibe and drove them to Netanya, the place of the attack.
All three claim in their interrogation that they were not aware that the two were terrorists. However, the
interrogation revealed that Levy and Azem knew these were not just innocent Palestinian workers, but thought they
were thieves/burglars. Abu Muh also assisted Zaharan since being acquainted with him from a criminal background.


                                                           ***


 February 25, 2005: Suicide terrorist detonation at the entrance to “The Stage” club in Tel Aviv, 5 killed
                                                     and 52 injured


Abdallah Sa’id Badran - A resident of Deir al-Ghusun/Tulkarem, aged 23, detonated himself near the entrance to
“The Stage” club on the Tel Aviv promenade, where dozens of people were waiting. The Islamic Jihad organization
initially claimed responsibility for the attack, and later a denial was published. The Islamic Jihad network in
Tulkarem was behind the attack, which was directed by the Islamic Jihad headquarters in Syria and the Islamic Jihad
network in Jenin.
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                                        Suicide Terrorists in the Current Conflict

                     January 18, 2005: Suicide terrorist detonation at the Orhan post checkpoint
                                        one killed (ISA employee) and 8 injured


                        Omar Tabash- A resident of Khan Yunis, aged 21, a Hamas operative, detonated himself
                        against security forces during an attempted arrest in the checkpoint area of the post at Orhan.
                        The suicide terrorist arrived at the Gush Katif intersection around 4:40 p.m., almost 2 hours
                        after closing the intersection to Palestinian vehicles passing through, and he was arrested and
                        taken to an inspection facility following intelligence information. The explosives examination
                        after the blast revealed that the suicide terrorist was carrying the explosive belt on his thighs.
The explosive belt did not contain fragmentation and was activated by a pulling mechanism, seemingly to deceive
inspection measures. The Hamas movement publicly claimed responsibility for the attack and published the suicide
terrorist’s will.


                    November 1, 2004: Suicide terrorist detonation at Carmel Market in Tel Aviv,
                                                   3 killed and 32 injured


Amer Ali/Alfar - A resident of the Askar refugee camp, a minor, aged 16, worked as a carpenter. He expressed his
willingness to carry out a suicide attack as revenge for his uncle’s death at the beginning of the Intifada. The suicide
terrorist was led to the attack by Bassem Hundaqji, a communication studies student at An-Najah National
University, a resident of Nablus, who used a journalist document, issued to him as part of his studies, to pass
through military checkpoints easily. While transporting the terrorist to Tel Aviv, Hundaqji used the assistance of
Bashar Muhammad Dawur Abassi, an Arab taxi driver from east Jerusalem, who had previously served a short
imprisonment term for transporting Palestinians illegall aliens into Israel. The suicide terrorist got out of the taxi at
the entrance to the market, made his way into the heart of the market and detonated himself.
It should be noted that the suicide terrorist’s family were in a very difficult financial situation and this may have
been the motive of the PFLP (Popular Front for the Liberation of Palestine) network in Nablus, the directors of the
attack, for approaching this family and exploiting their hardship.


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                                     Suicide Terrorists in the Current Conflict

                   October 5, 2004: Suicide terrorist detonation near an IDF unit in Jabalia,
                                                     no casualties


Unknown - A suicide terrorist on behalf of Hamas, the identity of which is unknown, apparently aged around 50,
detonated himself near a building in which IDF forces were posted in Jabalia, in the Gaza Strip. Parts of the
terrorist’s body were found in the area. There were no casualties among our forces.


                                                          ***
           September 22, 2004: Suicide attack at a hitchhiker’s stop on French Hill in Jerusalem,
                                      2 killed (border police) and 17 injured


Zainab Abu-Salem - A female resident of the Askar/Nablus refugee camp, aged about 18, finished her high school
studies in the previous year and was enrolled at An-Najah National University to complete her studies. She left her
home on the morning of the attack after telling her family she was heading to the university to hand in some
documents. The suicide terrorist, who was sent on behalf of the Fatah organization in Nablus, detonated herself near
border control police, while being inspected.


                                                          ***
         September 14, 2004: Suicide terrorist detonation on a bicycle near IDF forces in Qalqilya,
                                                  2 soldiers injured


Yusuf Taleb Yusuf Agbari - A resident of Qalqilya, single, aged 24, worked odd jobs (carpentry, porterage). On
the day of the attack he arrived from Qalqilya on a black bicycle to the agricultural gate facing towards Hableh. On
the rear mount of the bike was a box filled with a sack of potatoes. The soldiers at the checkpoint asked him to
produce his ID and asked if he had a passage permit. He told them he didn’t, and was told to return to Qalqilya. The
suicide terrorist turned to the direction of Qalqilya and detonated himself near the soldiers.
The network responsible for the attack was a combination of Hamas and Tanzim, and was led by Ibrahim Isa (a
Hamas operative in the past and knowledgeable in the manufacturing of explosive devices) as the military
supervisor. Isa was the one who dispatched the aforementioned to execute the attack.




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                                     Suicide Terrorists in the Current Conflict

            August 31, 2004: 2 Suicide terrorist detonations on 2 adjacent buses in Be’er Sheva,
                                              16 killed and 100 injured


                                               The suicide terrorists
                      Nassim Ja’bari                                          Ahmad Qawasmeh




Nassim Ja’bari, a resident of Hebron, aged 22, and Ahmad Qawasmeh, a resident of Hebron, aged 29, detonated
themselves almost simultaneously on 2 adjacent buses near Soroka Hospital in Be’er Sheva.
The two were recruited by Mus'ab Hashlamoun, head of the Hamas cell in north Hebron, who was imprisoned in
Ktzi’ot [Prison] along with Mahmud Qawasmeh, the brother of Murad Qawasmeh (Commander of the military arm
of the Hamas - killed). Upon release of the two, as part of the release of prisoners, they established a Hamas cell.
Ahmad Qawasmeh was sent to gather information in Be’er Sheva for the purpose of executing the attack, after
initially intending to carry out the attack on a bus traveling to Kiryat Arba, but they reached the conclusion that
penetrating that area would be difficult and that the density of the population in the area is not significant enough to
favor the attack. Ahmed went to work in Be’er Sheva several times with his brother and was able to become familiar
with the area and to choose the appropriate target. The preparation of the explosive belts was completed two days
before the attack. On the day before the attack, the terrorists filmed themselves with a Hamas backdrop and
weapons, while reading out wills which were prepared in advance. The two stayed in an apartment used by
prostitutes in Hebron. The belts were concealed in plaster picture frames so that the terrorists could avoid being
exposed during their journey to Be’er Sheva. The terrorists, who were guided on how to operate the belts by a cell of
wanted persons, received 300 NIS travel allowance and boarded an illegal alien shuttle to Be’er Sheva.


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                                      Suicide Terrorists in the Current Conflict

                   May 28, 2004: Suicide terrorist detonation near a bus terminal in Rafah,
                                                        2 injured


                 Ahmad Abu Jamus - A resident of Hai Genina/Rafah, aged 22, arrived in the early hours of the
                 morning in a jeep coming from Dahaniya toward an Israeli bus traveling to the terminal. The jeep
                 stopped at an embankment, the suicide terrorist exited the vehicle and opened fire at the bus, the
                 jeep exploded a few seconds later. The bus driver halted the bus, which caused the escorting vehicle
                 to crash into the rear of it. As a result of the crash, 2 IDF soldiers were slightly injured. The attack
was carried out in cooperation between the resistance committees, the Islamic Jihad and the Fatah. The suicide
terrorist’s brother, Hisham, had executed an infiltration attack in the past, on the “Marganit” post in August 2001, in
which 3 soldiers were killed.


                                                           ***
   May 22, 2004: Suicide terrorist detonation near the Bkaot checkpoint during an arrest procedure of a
                                wanted person, one soldier and 4 Palestinians injured


Sami Salameh - A resident of Nablus, aged 19, an Islamic Jihad military recruit who was supposed to participate in
a self-sacrificing attack, was involved in gunfire attacks in Nablus. On the day of the attack, the suicide terrorist
arrived from Nablus to the Bkaot checkpoint, wearing a black coat. The soldiers at the checkpoint suspected the
suicide attacker, and performed a suspect arrest procedure on him, during which he detonated a device he was
carrying on his person. The PFLP claimed responsibility for the attack, despite the suicide terrorist being an Islamic
jihad recruit.


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                                      Suicide Terrorists in the Current Conflict

                April 28, 2004: Suicide terrorist detonation in a car bomb in the Kfar Darom area,
                                                   4 soldiers injured


                  Tareq Hamid - A resident of the Nuseirat refugee camp, aged 24, single, known Hamas military
                  operative. On the morning of the attack, at about 6:45 a.m., he left in a blue Hyundai jeep, carrying
                  an Israeli flag, from the direction of “Beit-Hashlada” (south of Kfar Darom) while towing the
                  barbed wire from there and crossing westwards in the direction of the Tencher route. When the jeep
                  got on the route, he started driving south (to the Orhan area). IDF forces in the area recognized the
vehicle and opened fire. The jeep reached a distance of around 50m from the IDF forces and exploded. A claim of
responsibility for the attack was published by Hamas.
                                                           ***

          April 17, 2004: Suicide terrorist detonation at an IDF viewpoint in Erez industrial zone,
                                           one soldier killed and 3 injured


                     Fadi al-Amoudi - A resident of Jabalia refugee camp, aged 22, worked at the “Tatu” factory in
                     Erez industrial zone. On the day of the attack he arrived with around 30 workers, who entered
                     via “Magen 12” terminal into Erez industrial zone. The suicide terrorist and the workers were
                     requested to lift their shirts and trousers, and passed through the detectors, which did not beep or
                     sound an alarm. After the workers entered, the suicide terrorist remained last to enter, and when
he got through the workers passage, he went out to the outer yard of the terminal and detonated himself.
Examinations carried out on the ground revealed that the suicide terrorist was equipped with an explosive belt which
was apparently concealed in the groin area, that the device weighed around 2-3kg, and did not contain
fragmentation. An activation mechanism and battery were not found, and therefore, seemingly, the magnetometer
did not beep.


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                                        Suicide Terrorists in the Current Conflict

                        March 14, 2004: 2 Suicide terrorist detonations at Ashdod port,
                                                10 killed and 12 injured


                                                 The suicide terrorists
                       Nabil Mas’oud                                          Mahmud Salem




Nabil Mas’oud, a resident of Jabalia, aged 17, a terrorist on behalf of Fatah, and Mahmud Salem, a resident of Beit
Lahia, aged 18, a terrorist on behalf of Hamas, arrived at Ashdod port on the day of the attack at about 3:50 p.m. by
means of a shipping container which was meant to return empty from the [Gaza] Strip to Ashdod port via Karni
crossing. The suicide terrorists were hidden, along with the explosive devices, grenades and personal equipment, in
a double-walled section of the container which was prepared with the option of opening the doors from the inside.
The two detonated themselves within a few minutes of one another at 2 adjacent locations: one inside the port area
and the other near the entrance gate.


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                                      Suicide Terrorists in the Current Conflict

                       March 6, 2004: 4 Suicide terrorist detonations at Erez checkpoint,
                                            2 Palestinian policemen killed


                                                The suicide terrorists
               Muhtadi Mubid             Hatem Tafesh            Muhmmad Abu Daya Amru Sa’ayed
              aged 30, Al-Shati         aged 18, Al-Shati        aged 19, Rimal          aged 30, Sheikh Radwan




At about 10:20 a.m. a triple, bombing attack occurred, by a combination of the Islamic Jihad, Hamas and Fatah in
the Erez industrial zone, which included 4 terrorists that arrived in a number of vehicles to the area of the attack. The
attack included: detonation of a Palestinian taxi bomb near an IDF post, in which the terrorist in the vehicle was
killed. At the same time, a jeep arrived, from which a terrorist emerged dressed in camouflaged clothing and opened
fire at IDF forces. The terrorist returned t the jeep and continued driving towards the IDF post where he dropped off
an additional terrorist from the jeep. Both terrorists were shot and killed by IDF forces. In addition, another jeep
arrived at the Palestinian post where it detonated with a terrorist inside. Preparation for the attack lasted several
months and included preparing the vehicles, transporting them to Jabalia and training the terrorists to crawl and
shoot. The two jeeps that were involved in the attack were camouflaged as IDF “Storm” type jeeps and had Israeli
license plates. As part of the preparation of the vehicles, changes were made to them including among others: brown
paint, IDF number registration, an orange flashing light and a searchlight on the roof of the vehicle, a
communication antenna, nets to protect from stone-throwing, back doors identical to the fortification doors on a
Storm jeep.


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                                      Suicide Terrorists in the Current Conflict



               February 22, 2004: Suicide terrorist detonation on the route 14 bus in Jerusalem
                                                8 killed and 60 injured


                 Muhmmad Za’oul - A resident of Husan, aged 23, married + one young son, a construction
                 worker, worked in the Jerusalem area. The suicide terrorist detonated an explosive device which
                 was carried in a bag on the route 14 bus, near Liberty Bell Park in Jerusalem. The epicenter of the
                 explosion was located in the center of the bus, opposite the back door. The suicide terrorist was
                 apparently seated during the explosion. The Fatah’s al-Aqsa Martyrs’ Brigades claimed
responsibility for this attack. The suicide terrorist was not known as an operative or involved in political activity
(besides the fact that a few years ago he was involved in religious activity and became close to “Da’wa” authorities,
but following pressure from his family he ceased his activity and distanced himself from these authorities). At the
start of the events, he was injured by soldier gunfire during riots in his village following the running over of a local
resident by an Israeli vehicle.


                                                           ***


                January 29, 2004: Suicide terrorist detonation on the route 19 bus in Jerusalem
                                                11 killed and 44 injured


                    Ali Ja’ara - A resident of the Al-’aida/Bethlehem refugee camp, aged 25, a Bethlehem police
                    officer, detonated himself on an “Egged” bus (route 19) in central Jerusalem. The epicenter of the
                    explosion was at the rear part of the bus. The suicide terrorist carried the explosive device with
                    him, weighing 6-8kg, in a bag. The Bethlehem “al-Aqsa Martyrs’ Brigades” claimed public
                    responsibility for the attack.
The suicide terrorist left behind a will, in his handwriting, in which he states that he carried out the act to avenge
those who were killed in the massacre which occurred in the al-Zeitun neighborhood. It was also stated in the will
that this act is part of a series of impending acts, to avenge the al-Zeitun neighborhood martyrs and all Palestinian
martyrs. In his will, the suicide terrorist asked his mother to forgive him and not to shed a tear for him as he is
submitting to the will of Allah.


                                                           ***

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                                                                                               Israeli Security Agency [logo]


                                     Suicide Terrorists in the Current Conflict



                              January 14, 2004: Suicide attack at Erez checkpoint
                                     4 soldiers and civilians killed, 10 injured


                  Rim Awad - a resident of Gaza, daughter to a wealthy family, aged about 23, married for 5 years
                  and a mother to two young children (a 3-year-old girl and a boy aged a year and a half). Recruited
                  by Hamas, and is the first Palestinian mother to carry out a suicide attack. Her husband is a
                  Hamas operative. She had expressed suicidal intentions in the past, sounding as though she was
                  eager to carry out a suicide attack and even sought persons who could dispatch her. She had a
romantic relationship with a senior military Hamas operative and it is possible that the attack was also intended to
clear her name.


                                                          ***


               January 11, 2004: Suicide terrorist detonation near IDF forces next to Qalqilya
                                                    no casualties


Iyad Masri - a resident of Nablus, aged 17, detonated himself at the Jinsafut village intersection following an
“occupational accident.”
The suicide terrorist and another young man, who was his director, left Nablus in the direction of Tappuah
intersection, with the aim of arriving in the Ramallah area. They reached the Jinsafut area and got stuck. A short
while after the director instructed the suicide terrorist to reach him in Hawara via Jama’in village/the Trans-
Samarian highway, the suicide terrorist detonated in the Jinsafut village area following an occupational accident (he
may have equipped the [explosive] device against the recommendation of his director). The [explosive] device
which, was placed in a black shoulder bag with a pouch, included small iron nuts and pellets, 1.5V batteries and a
red oven switch which was placed inside the pouch. The remains of a cell phone carried by the suicide terrorist were
also found.


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                                      Suicide Terrorists in the Current Conflict



            December 25, 2003: Suicide terrorist detonation at a bus station at Geha intersection,
                                                4 killed and 20 injured


Thaer Hanani - a resident of Beit Furik, aged 18, a member of the “Popular Front,” a construction worker,
detonated himself at a bus station at Geha intersection in Petach Tikva. The attack was carried out by the Popular
Front network in Nablus, as revenge for the elimination of Jibril Awad and Fadi Hanani. After the attack, Munzar
Sanubar, a resident of the Territories, who accompanied the suicide terrorist to the attack location. In his
interrogation he said that he accompanied the suicide terrorist to Geha intersection and that the two traveled in a taxi
driven by an Israeli driver who was identified in the investigation as Ofer Schwartzenbaum, born in 1965, a
resident of Oranit, father of four. In his interrogation, Ofer said that within his employment as a taxi driver, he often
transported many residents of the Territories, including those he knew did not have permits to be in Israel.


                                                            ***
              November 3, 2003: Suicide terrorist detonation close to IDF forces near Azzoun,
                                                   2 soldiers injured


Sabih Saoud - a resident of Rafidiya/Nablus, aged 16, a high school student, departed to carry out a bomb attack
inside Israel by the Tanzim military network in Nablus. The suicide terrorist was transferred to the Qalqilya area in
order to penetrate into the center of Israel in the Kafr Qasim area where there is no separation fence. Following
intelligence information, IDF and Israel Police forces were deployed extensively in order to prevent him entering.
Within IDF activity in Kfar Azzoun in the Qalqilya area, IDF forces suspected a number of locals and signaled for
them to stop, at which point the suicide terrorist detonated himself on the battalion commander’s jeep. The foiling of
this attack prevented a major disaster in central Israel.


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                                     Suicide Terrorists in the Current Conflict

       October 9, 2003: Suicide terrorist detonation at the Tulkarem coordination and liaison office,
                                                  2 soldiers injured


Ahmad Safadi - a resident of Urif/Nablus, aged 18, a student at a vocational high school (auto mechanics) in
Nablus, arrived at the coordination and liaison office in Tulkarem with a black backpack, waited with other
Palestinians in the waiting area and at a certain point got up, approached the reception window of the facility and
detonated himself with his back, and the backpack, facing the window.
The suicide terrorist left a will behind, written in his handwriting on October 8, 2004, in which he wrote: “In my
blood I write the path of freedom and walking the path of righteousness for Islam, to raise the prestige of the Islamic
nation.” He also called in his will for the submissive Arab regimes to abandon the path of fear and treason and called
for the Palestinian people to continue in the path of resistance. Responsibility for the attack was claimed by Fatah.


                                                          ***


                        October 4, 2003: Suicide attack at “Maxim” restaurant in Haifa
                                              21 killed and 48 injured


Hanadi Jaradat - a female resident of Jenin, single, aged 29, a law studies graduate at the Al-Quds Open
University. Her brother was killed before her eyes in the operation to shoot down her beloved, Salah Jaradat, who
was head of the Islamic Jihad network in Jenin. She carried out the attack to avenge both of their deaths.
The suicide terrorist was transported from Barta’a to Haifa by Jamal Musa Mahajna, supposedly in order to arrange
matters at Rambam Hospital for her sick father. On the way she asked to eat at a restaurant, where she detonated
herself. The explosive device weighed 4kg and included ball bearings, chopped construction iron and copper foil.


                                                          ***




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                                    Suicide Terrorists in the Current Conflict


                October 9, 2003: Suicide terrorist detonation at the entrance of “Hillel” Café,
                                               7 killed and 70 injured


                 Ramez Abu Salim - a resident of Rantis, aged 22, a Hamas operative, a student and operative of
                 the “Kutla Islamiya” [The Islamic Bloc] at the Al-Bireh Open University. He was in administrative
                 detention and was released in February 2003. At 11:20 p.m. he detonated himself at the entrance of
                 “Hillel” Café on Emek Refa’im St. in Jerusalem. The suicide terrorist was sent for the attack by a
                 front cell of the Hamas network from Beit Lakia village, a cell made up of east Jerusalem Hamas
recruits, which was operated by the Hamas headquarters in Ramallah. During October 2004, a number of residents
of Isawiya village were arrested in Jerusalem by the Israeli Security Agency and Jerusalem police. In their ISA
interrogation, two of them admitted to being those who received the suicide terrorist and led him to the attack
destination. Additional interrogated individuals admitted that they had assisted the two in communicating with the
Hamas headquarters in Ramallah and in the execution of the attack.


                                                          ***
                     October 9, 2003: Suicide terrorist detonation at Tzrifin Bus Station,
                                               9 killed and 14 injured



                  Ihab Salim - a resident of Rantis, aged 19, a student at the Ramallah Open University, known as
                  a Hamas operative and as the one who incited revenge following the death of a Hamas operative
                  from IDF soldier gunfire. In light of his connections with Hamas, the suicide terrorist was arrested
                  on December 21, 2002, transferred into administrative detention for three months at Ktzi’ot prison
                  and released in early March 2003. The suicide terrorist was recruited by Ramez [Abu Salim], the
                  Hillel Café suicide terrorist. This attack, similarly to the Hillel Café attack carried out several
hours later, was orchestrated by the Hamas network in Ramallah, headed by Ibrahim Hamed.


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                                     Suicide Terrorists in the Current Conflict



                     August 19, 2003: Suicide terrorist detonation on a bus in Jerusalem,
                                             23 killed and 115 injured


                Raed Misk - a resident of Hebron, aged 29, married + 2 children, an Imam at the mosque, a
                graduate of religious studies at Najah University, began studying for a masters. Worked as a teacher
                in a school in Hebron, taught Quran at Hebron University. The suicide terrorist detonated himself
                on the no. 2 bus which was on its’ way from the Western Wall via Nablus Gate towards Shmuel
                Hanavi St. in Jerusalem. The Hamas organization officially claimed responsibility for the attack.
                The attack was carried out by a Jerusalem cell which was directed by the Hamas military network in
Hebron and which planned to carry out additional bomb attacks. Among its key operatives were: Nassim Za’tari,
head of the cell, Majdi Za’tari, Nassim’s brother-in-law, Abdallah Sharabati, “professional” criminal. On the
morning of the attack, the suicide terrorist arrived in Abu Dis, where he was picked up by Majdi and Abdallah and
was transferred to Abadin mosque in Wadi Joz. At the same time, the explosive belt was sent from Hebron to
Jerusalem via a private courier company. The explosive device was concealed in a plaster beam and was collected
by Nassim from the company’s branch in Jerusalem. Nassim hid the belt in his parents’ house in Wadi Joz. The belt
was taken to the mosque in the evening, Majdi and Abdallah equipped the suicide terrorist with it and instructed him
on how to operate it. From there, they drove him to the bus station, a 2 minute drive from the mosque.


                                                          ***


                   August 12, 2003: Suicide terrorist detonation near a bus station in Ariel,
                                                2 killed and 2 injured


Islam Qatishat - a resident of Ras al-Ein/Nablus, aged 18, detonated himself at the intersection at the entrance to
the settlement of Ariel. The suicide terrorist apparently noticed the security forces, was alarmed, and activated the
explosive belt. The Hamas organization claimed official responsibility for the attack and published his will.
Intelligence information gathered after the attack revealed that the Hamas military network in Nablus, headed by
Muhammad Hanbali, carried out the attack as revenge for the elimination of Faez Sadr and Hamis Abu Salem,
network seniors, on the weekend prior to the attack.


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                                      Suicide Terrorists in the Current Conflict

                August 12, 2003: Suicide terrorist detonation at a supermarket in Rosh Ha’ayin,
                                                one killed and 9 injured


Khamis Jarwan - a resident of Ascar refugee camp/Nablus, aged 17, a high school student, detonated himself at a
supermarket “Hazi Kupa” in Afek park, Rosh Ha’ayin. The explosive device was carried in a bag on his back.
Responsibility for the attack was claimed by the Nablus Tanzim network under the direction of Uthman Yunis. The
suicide terrorist was transported to Rosh Ha’ayin by Yusuf Shumali - an Israeli Arab from Jaljulia, known as a
driver of illegal aliens.


                                                            ***


                   July 7, 2003: Suicide terrorist detonation at a private home in Kfar Yavetz,
                                          one (female) killed and 4 injured


Ahmad Yahia - a resident of Kafr Rai, aged 21, a student at the Jerusalem Open University in Jenin, known as an
operative of the Jama’a Islamiya [the Islamic Group], detonated himself next to a private home in Kfar Yavetz,
located in the Tel Mond region. The overall information revealed that the dispatching network was a combined
network of Islamic Jihad operatives from Jenin and Tulkarem. The suicide terrorist was recruited into the Islamic
Jihad in April 2003 and in the period before the attack he began behaving in a strange and unusual manner,
uncharacteristic of him in the past. In a joint ISA and Israel Police/“Tsabar” Unit operation on October 11, 2004,
Muhammad Ahmad Abd al-Ghani Khalil, aged around 19, a resident of Nur Shams, an Islamic Jihad operative
involved in the suicide attack, was arrested in Kafr Qasim. According to existing intelligence, Muhammad Khalil led
the suicide terrorist into Israeli territory, through Kfar Yavetz, where, as stated, the suicide terrorist decided to
detonate himself. It should be noted that all directors of the attack were arrested or killed.




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                                     Suicide Terrorists in the Current Conflict

           June 19, 2003: Suicide terrorist detonation at a grocery store in Moshav Sdei Trumot,
                                                       one killed


Ahmad Abahara - a resident of the village Yamun/Jenin, aged 19, was recruited for the attack by the Islamic Jihad
network in Jenin. Shortly after 6:00 a.m. the suicide terrorist arrived at the grocery store in Sdei Trumot, wearing
jeans, a black T-shirt, carrying a crossover bag on his shoulder. The suicide terrorist began looking through items
outside the store, the store owner asked him what he was doing and called him to come inside so he could talk to
him, upon his entry to the store a violent blast occurred.


                                                             ***
                    June 11, 2003: Suicide terrorist detonation on bus no. 14 in Jerusalem
                                              17 killed and 104 injured


Abd al-Mu'ti Shabana - a resident of Hebron, aged 18, a student at a vocational high school in Hebron, detonated
himself on bus no. 14 on Jaffa St. in Jerusalem while dressed as an ultra-orthodox Jew. Responsibility for the
attack was claimed by Hamas. Following investigations after the attack, a cell within which the suicide terrorist
operated was exposed, as well as a network of Jerusalem operatives, including a member who received the suicide
terrorist in Jerusalem prior to his departure for the attack. This organization was linked to the Hamas military
headquarters in Hebron.


                                                             ***
               May 19, 2003: Female suicide terrorist detonation in Ha’amakim Mall in Afula,
                                               3 killed and 50 injured


Hiba Daraghmeh - a resident of the village Tubas, aged 19, single, an English student at the “Al-Quds” Open
University. The suicide terrorist is the sister of Baker Daraghmeh, a Fatah/Islamic Jihad operative recruited for the
execution of a suicide attack in June 2002, but was arrested beforehand and is now imprisoned in Israel. The attack
was as revenge for her brother’s arrest. The terrorist was described as wearing jeans, a tight shirt, high heels and
carrying a feminine black bag which appeared heavy. The terrorist apparently departed for Israel with no
accompaniment and arrived in Afula by herself.


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                                    Suicide Terrorists in the Current Conflict



              May 19, 2003: Suicide terrorist detonation next to an IDF jeep near Kfar Darom,
                                                  3 soldiers injured


                     Shadi Nabahin - a resident of Bureij refugee camp/Deir al-Balah/Gaza, aged 20, single,
                     Hamas operative, arrived in Kfar Darom riding a bicycle and detonated himself close to an IDF
                     jeep which was carrying out a reconnaissance of the area. The suicide terrorist was carrying a
                     backpack on his back, containing the explosive device, with the activation mechanism for the
                     device placed on the bicycle’s handlebars. This attack was part of Hamas organization activity
in Dir al-Balah, which routinely fired mortars/anti-tank weapons toward Kfar Darom and rolled out “quality attacks”
every few months.


                                                          ***


              May 18, 2003: Suicide terrorist detonation next to a-Ram/Jerusalem checkpoint,
                                                    no casualties


                    Mujahed Ja’bari - a resident of Hebron, aged 19, an engineering student at the Polytechnic,
                    detonated himself next to the a-Ram checkpoint wearing a blue shirt and new jeans, shaven and
                    with a haircut cropped at the sides. The suicide terrorist was dispatched for the attack by a “front
                    cell” of the Hamas, residents of the Jerusalem area, which operated on behalf of the Hamas
                    military network in Hebron. The suicide terrorist arrived at the checkpoint in a shuttle taxi from
Hebron to Abu Dis, where he was received by the Jerusalem operatives and was transferred from there to the
checkpoint by foot. The suicide terrorist detonated himself before reaching his destination due to being suspected by
soldiers.


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                                     Suicide Terrorists in the Current Conflict

              May 18, 2003: Suicide terrorist detonation on a bus on French Hill in Jerusalem,
                                               7 killed and 20 injured


                     Bassem Takruri - a resident of Hebron, aged 19, a first year computer course student at the
                     Polytechnic, detonated himself on Egged bus no. 6, near French Hill, while dressed as an
                     ultra-orthodox Jew: black trousers, white shirt, a skullcap and a tsitsit [a vest worn by
                     religious Jews]. The suicide terrorist was dressed on the morning of the attack during his stay at
                     the home of one of the recruits operated by the Hebron Hamas network, Samer Atrash. In his
                     interrogation, Samer Atrash admitted collecting intelligence ahead of the attack, picking up the
suicide terrorist from the Abu Dis area and smuggling him into Jerusalem, hosting him overnight at his home as well
as preparing and leading him to the location of the attack.
                                                          ***


                   May 17, 2003: Suicide terrorist detonation near Gross Square in Hebron,
                                                        2 killed


                       Fuad Qawasmeh - a resident of Hebron, aged 22, a Hamas operative, arrived in the Gross
                       Square area in Hebron, dressed as a religious Jew, was suspected by soldiers who called for
                       him to stop and then detonated himself near a number of Israelis. The suicide terrorist was an
                       administrative detainee after being arrested as part of the incursion into the city of Hebron as
                       part of Operation “Defensive Shield.” The suicide terrorist was linked to a group of Hamas
                       operatives from the “Jihad” mosque, 4 of which carried out 2 suicide attacks on March 7,
2003, one in Kiryat Arba and the other in the Negohot settlement. Interrogation material revealed that 3 other
terrorists were recruited for Hamas activity along with the suicide terrorist. All four were interested in carrying out a
suicide attack, but this suicide terrorist was chosen for the execution of the attack by Bassel Qawasmeh, a senior
member of the Hamas network in Hebron, who directed the attack.


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                                     Suicide Terrorists in the Current Conflict

        May 8, 2003: Suicide terrorist detonation in a car bomb adjacent to a tank in the Gaza Strip
                                                     no casualties


                  Mahmud Anani - a resident of the Nuseirat refugee camp in Deir al-Baleh, aged 22, single, a
                  Fatah police officer and operative, detonated himself in a vehicle bomb near a tank, close to Kfar
                  Darom. Several minutes before the attack, deflection gunfire was fired at our forces on the
                  Tencher route. Scans after the attack revealed that the truck contained 2 gas cylinders and
                  explosive devices on its doors, but due to a fault only one gas cylinder detonated during the
attack. The “al-Aqsa Martyrs’ Brigades” claimed public responsibility for the attack.


                                                          ***


        April 30, 2003: Suicide terrorist detonation at the entrance to Mike’s Place pub in Tel Aviv
           an additional suicide terrorist cast an explosive device nearby, 3 killed and 62 injured


                                               The suicide terrorists




               Hanif Assif                                            Amar Sharif

Hanif Asef, aged 22, a British citizen, detonated himself at the entrance to “Mike’s Place” pub on the promenade in
Tel Aviv. Omar Sharif, aged 27, a British citizen, also tried to carry out a suicide attack along with Hanif but due to
a fault in the explosive device he could not carry out his plan and fled the scene, while disposing of the charge in his
possession. The charge Amar was carrying was made up of standard explosives weighing around 5kg, without
fragmentation, and was concealed in a book cover. Omar’s body emerged from the sea around two weeks after the
attack. The Hamas organization claimed responsibility for the attack and published a videotape in which both of the
Brits make speeches before departing for the attack. Analysis of the passport findings reveals that the two arrived in
the area on a route which started on April 8 in Syria, through Jordan on April 11 and entered the area on April 12.
General investigations revealed that for their movements in Israel, the Gaza Strip and the West Bank, the terrorist
pair was assisted by a number of foreign left wing operatives staying in the area.
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                                      Suicide Terrorists in the Current Conflict

          April 24, 2003: Suicide terrorist detonation at the entrance to the Kfar Saba train station,
                                                1 killed and 15 injured


Ahmad Khatib - a resident of Balata/Nablus, aged 18, a high school student, with divorced parents, arrived on the
morning of the attack in the Kfar Saba train station area, wearing jeans and a long black coat with English writing on
the back, to which the explosive belt was apparently attached. The suicide terrorist passed two police officers and
when he came close to the station’s security guards, one of the guards approached him, chatted to him and asked
him to identify himself. The suicide terrorist put his hand in his trouser pocket and detonated himself. The Fatah’s
al-Aqsa Martyrs’ Brigades and the PFLP’s Abu Ali Mustafa Brigades claimed joint responsibility for the attack.


                                                           ***


April 15, 2003: Suicide terrorist detonation equipped with light weapons, a grenade and an explosive belt
                                      at Karni Crossing, 2 killed and 3 injured


                 Muhammad Yunis - a resident of Jabalia refugee camp/Gaza, aged 18, a high school student,
                 Hamas operative. On the morning of the attack Rami Abu Sahila, a military Hamas operative from
                 the Jabalia refugee camp came to him and prepared him for departure for the attack. Later in the
                 morning, a trader with an entrance permit to the area of the terminal came along with his son, and
together they hid the suicide terrorist in the trunk of their car among their merchandise. At the terminal’s checkpoint
the trunk was not inspected and the suicide terrorist was dropped off from the car at the terminal, equipped with light
weapons, grenades and an explosive belt, and began shooting and casting grenades toward the terminal. The suicide
terrorist was shot and killed by security and reservists at the scene.
                                                           ***
         March 30, 2003: Suicide terrorist detonation at the entrance to “London” café in Netanya,
                                                       54 injured


Rami Ghanem - a resident of Dir al-Ghusun, aged 20, single, an accounting/business management student at
Kadoorie College in Tulkarem, known as a Popular Front operative. Due to being a suspected collaborator he left
the Popular Front and joined the Islamic Jihad ranks a few days before the attack. The suicide terrorist detonated
himself at the entrance to the café in Netanya with an explosive device made up of a tin box weighing
                                                            29
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                                                                                              Israeli Security Agency [logo]


                                    Suicide Terrorists in the Current Conflict

1-1.5kg affixed to his abdomen using a leather belt and white rags. Responsibility for the attack was taken by the
Islamic Jihad.
                                                          ***
                 March 5, 2003: Suicide terrorist detonation on a bus on Sderot Moria in Haifa,
                                              15 killed and 42 injured


Mahmud Amran Qawasmeh - a resident of Hebron, aged 20, a computer course student at the Polytechnic in
Hebron, detonated himself on bus no. 37, at the entrance to the Karmeliya neighborhood in Haifa. Hamas military
headquarters in Hebron were behind the attack, with Ali Rajbi as a central operative responsible for the logistical
network and the wanted person Ali Alan alongside him, responsible for making the explosive belt. The person
responsible for leading the suicide terrorist to Haifa was Hafez Rajbi, a resident of Hebron, with an east Jerusalem
identity card which provided him with access to Israel.
                                                          ***
                       February 9, 2003: Car bomb detonation with 3 terrorists in Orhan,
                                                 4 soldiers injured


                                              The suicide terrorists




      Sami abd al-Salem                    Sulieman Miqdad                  Muhammad Amum


Sami abd al-Salem, a resident of Bureij/Deir al-Balah, aged 17, Sulieman Miqdad, a resident of Nuseirat/Gaza, aged
22, and Muhammad Amum, a resident of Bureij aged 18, drove in a white Pontiac car, and arrived from the northern
part of Orhan. Two of them were seated in the front of the vehicle and one in the back, holding a Kalashnikov.
While approaching the checkpoint, the terrorist in the rear fired shots towards our forces, the vehicle swerved to the
right, collided with the concrete blocks of the Orhan post and exploded. Responsibility for the attack was claimed by
the Islamic Jihad network in the refugee camp area in the central Gaza Strip area, led by (until he was killed on
March 17) Muhammad Sa’afin.
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                                       Suicide Terrorists in the Current Conflict

                    January 17, 2003: Suicide terrorist detonation on a raft bomb west of Dugit,
                                                       no casualties


                        Mahmud Jamasi - a resident of Rimal/Gaza, aged 21, single, known as a Hamas operative.
                        The suicide terrorist departed, as it seems, from the Shati area, carrying half a barrel containing
                        40kg of weapons. The suicide terrorist arrived in the area of the attack on a fishing boat and got
                        out of it while wearing floatation devices, in order to be carried by the water with most of his
                        body submerged in the water. His aim was to get close to the Dabur patrol boat and detonate
                        himself near it. Fishermen who noticed him thought he was in distress and sent a raft his way,
when the raft reached him (at the same time as the Dabur patrol boat), he detonated himself in the water. The attack
was directed by the prominent Hamas military operative, Wael Nasar, and after the attack it was revealed that the
suicide terrorist had trained in the Shati area for around a year in swimming and diving without equipment.


              January 5, 2003: Detonation of 2 suicide terrorists at the old central station in Tel Aviv,
                                                23 killed and 106 injured


Buraq Halifa and Samer Nuri - Buraq Halifa, aged 20 and Samer Nuri, aged 19, both residents of Nablus, carried
out a double suicide attack at the old central station in Tel Aviv. The suicide terrorist pair, who were friends since
childhood, detonated themselves at two different points (200m apart) and 50 seconds apart. The two were
transported to the location of the attack by an Israeli Arab. Responsibility for the attack was taken by the military
arm of Fatah in Nablus, headed by Naef Abu-Sharah (killed). Abu-Sharah was directed by the Iranian
Revuloutionary Guard of the Islamic Revolution in Lebanon, who fund attacks and allow Fatah organizations to
continue carrying out attacks within Israel. This attack is one of the deadliest attacks since the beginning of the
conflict, as reflected by the number of casualties and the quality of explosive devices, which contained an estimated
weight of over 10kg of high explosives and a large amount of metal fragmentation in order to increase the effect of
the attack.


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                                     Suicide Terrorists in the Current Conflict

  December 28, 2002: Car bomb detonation driven by a suicide terrorist near the Russian Compound, no
                                                       casualties


Ala Karaki - a resident of New Anata/Jerusalem, aged 20, single, a first year management student at Ibrahimiya
College, attempted to detonate himself in a car bomb parked on Monbaz St. in Jerusalem, near a lively recreation
area. In his interrogation with the Israeli Security Agency, the suicide terrorist admitted that he carried out the attack
with the aim of killing Jews and being killed. He also told of how he became religious around six months earlier and
started praying, and that his decision to carry out an attack was in order to repent for his heretical behavior over the
years. The suicide terrorist admitted that he was the one who initiated and carried out the attempted attack alone.
                                                           ***


     November 27, 2002: Car bomb detonation driven by a suicide terrorist in the DCO site, near Erez
                                    checkpoint in the Gaza Strip, no casualties


                     Muhaned Mahdi - a resident of Sheikh Radwan/Gaza, aged 25, married, father of one son,
                     drove a car along the Tencher route, barged into the Palestinian communication station and
                     detonated while driving. The popular front network stands behind this attempted attack. The
                     blast was of an explosive device and an improvised 82mm mortar.


                                                                      ***
   November 22, 2002: Boat bomb detonation driven by 2 suicide terrorists near a navy ship in front of
                                           Dugit beach, 4 injured soldiers


Jamal Ismail - a resident of Bureij, aged 22, and Mohammad Masri, a resident of Beit Hanoun, aged 19, a first
year student at the Islamic University, stole a fisherman’s surfboard, loaded it with explosives and sailed in the no-
fishing zone. This caused the navy Dabur patrol boat to be called to the scene, the Dabur team called at them and
when they received no reply the Dabur approached the fishing boat. At this point the two suicide terrorists detonated
themselves inside the boat. The Islamic Jihad claimed public responsibility for the attack. Members of the
organization which carried out the attack were familiar with our forces’ routine naval activity, used two attackers to
liken the boat bomb to a “normal” fishing boat and thus helped attract the Dabur towards the boat.
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                                                                                                 Israeli Security Agency [logo]
                                     Suicide Terrorists in the Current Conflict

               November 21, 2002: Suicide terrorist detonation on bus route 20 in Jerusalem,
                                               11 killed and 50 injured


Nael Abu Hulail - a resident of Dura, who moved to Bethlehem several months before the attack, aged 22, single,
religious, worked with his father on a vegetable stall in the old market in Bethlehem. The suicide terrorist detonated
himself on Egged bus route no. 20 on Mexico St. in Jerusalem. Responsibility for the attack was claimed by Hamas.
The Israeli Security Agency revealed the cell from Bethlehem which was responsible for the attack in a joint
operation with IDF. Within the operation the following persons were arrested: 2 manufacturers of explosive devices,
5 additional operatives who dealt with preparing the devices and recruitment, and 6 youngsters who were recruited
to carry out suicide attacks. On November 20, 2002, Muhammad Shaker Al’an Ma’la (one of the manufacturers
of the explosive device and Ali Al’an’s cousin, the senior wanted member of Hamas in Bethlehem) approached
Ibrahim Jundiya, a Hamas operative in Bethlehem, and asked him to join him for the purpose of transferring a
terrorist to Jerusalem. The two walked through Wadi Ahmad, near Bethlehem, with Muhammad carrying a black
bag containing a black exercise suit and notebooks. After a short walk, the two met with the suicide terrorist and
began walking in the direction of Beit Jala. 30 minutes later, Muhammad took the exercise suit out of the plastic bag
he had brought with him and ripped out the inner lining of the suit so that it would not hinder the suicide terrorist in
activating the explosive belt. Near Sharafat village, at the foothills of the Gilo neighborhood, Muhammad noticed a
cave in which the suicide terrorist stayed the night. The next morning the suicide terrorist boarded a bus traveling
towards Kiryat Menachem in Jerusalem, and detonated himself.


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November 11, 2002: Discovery of the body of a suicide terrorist who departed for an attack, with remains
                              of an explosive belt, near Erez crossing, no casualties


Sayyid Khasnin - a resident of Egypt, aged 23, departed for a suicide attack against an IDF post at a workers
crossing in the north of the Gaza Strip, directed by the Islamic Jihad organization in the Strip. According to
estimations, the suicide terrorist attempted to reach the rear post, became entangled in barbed wire on the descent to
Hanoun River and as a result of a fault in the explosive device or Sayyid’s fall, the device was activated and killed
him on the spot. His body was found about 350m south of a rear post at Erez terminal, with remains of an explosive
belt and a grenade. On his head was a black band with the writing “Jerusalem [i.e. al-Quds] Brigades.”
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                                                                                                Israeli Security Agency [logo]
                                      Suicide Terrorists in the Current Conflict

                 November 4, 2002: Suicide terrorist detonation in “Arim” mall in Kfar Saba,
                                                2 killed and 37 injured


Khaled Sawalha - a resident of Balata village/Nablus, aged 18, single, detonated himself on the first floor of
“Arim” mall in Kfar Saba, as revenge for the death of his relative when the army entered Balata refugee camp. The
attack was carried out by the Fatah organization in Nablus. Responsibility was claimed by the “Black Arms”
organization under the direction of Saleh Qini. Saleh, a resident of Qalil village, a military Tanzim operative, was
arrested and admitted in his interrogation to locating and dispatching Khaled Suwalkha to the attack.


                                                           ***


           November 4, 2002: Suicide terrorist detonation at a gas station at the entrance to Ariel,
                                                3 killed and 17 injured


Muhammad Bustami - a resident of Nablus, aged 19, a computer programming student at an-Najah University,
arrived at the gas station in Ariel carrying an explosive belt on his person. Citizens and soldiers at the station
suspected him as a terrorist.
During their attempts to control him, one of them shot the terrorist, and he detonated, apparently he had managed to
activate the explosive belt he was carrying. Responsibility for the attack was claimed by Hamas, the attack was
carried out by the Hamas network in Nablus.


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                                     Suicide Terrorists in the Current Conflict

    October 21, 2002: Detonation of 2 suicide terrorists in a car bomb adjacent to bus route 841 next to
                                   Karkur intersection, 14 killed and 48 injured


Muhammad Hasnin, aged 19, and Ashraf Asmar, aged 18, both residents of Jenin and Islamic Jihad operatives,
drove in a bomb laden vehicle from the direction Megiddo intersection to Hadera, drove alongside Egged bus no.
841 and detonated themselves. Responsibility for the attack was claimed by the Islamic Jihad. The attack was
carried out by the Islamic Jihad network in Jenin, under the instruction and planning of Iyad Sawalha and Sa'id
Toubasi.
The names of the suicide terrorists were transferred to Toubasi, who transferred them to Suwalha. Suwalha asked
Toubasi to arrange for a vehicle and transfer it to Anas Jaridat, who loaded it with explosives. Later, the explosive
laden vehicle was transferred to a garage in Jenin. Toubasi met with the two suicide terrorists and took them to
Suwalha’s home, who gave the two suicide terrorists money for them to buy clothes ahead of the planned attack and
asked Toubasi to bring, the next afternoon, an empty bag, a weapon, passwords, Allah and Islamic Jihad related
inscriptions as well as cellophane tape to attach the announcements and slogans. In the afternoon of the next day,
Toubasi drove Suwalha and the two suicide terrorists, dressed in their new clothes, in a green vehicle with tinted
windows, to the town area, where they received the explosive material. The attack was launched when Muhammad
Jaridat, an Islamic Jihad operative from Silat al-Harithiya, leading the suicide terrorists and assisting with getting it
underway.


                                                          ***
 October 11, 2002: Capturing of a suicide terrorist as he attempted to detonate an explosive belt in a café
                                     on the Tel Aviv promenade, no casualties


                     Rafat Muqdi - a resident of Zawiya/Qalqilya, aged 23, arrived at “Tayelet” café in Tel Aviv in
                     the evening hours. During an inspection carried out by the security guard at the entrance, the
                     explosive belt was detected on the suicide terrorist, who began to flee. Hearing the guard’s
                     shouting, security guards from the American embassy chased the suicide terrorist and arrested
                     him. The attempted attack was directed by the Hamas network in Ramallah, who received and
                     dispatched the suicide terrorist.
An Israeli Arab driver, Ashraf Za'yir, a resident of Kafr Aqab, holder of a blue ID card, was the one who led the
suicide terrorist to Tel Aviv.


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                                     Suicide Terrorists in the Current Conflict

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       October 10, 2002: Suicide terrorist detonation next to a bus station at Coca Cola intersection,
                                         one (female) killed and 20 injured


                  Rafik Hamad - a resident of Qalqilya, aged 31, married and a father of 4, attempted to board a
                  “Dan” bus near Bar-Ilan interchange, was injured during the boarding attempt and was treated at
                  the scene by the bus driver and a doctor. When they noticed he was carrying an explosive belt, the
                  suicide terrorist attempted to flee, ran towards the gas station and detonated himself. The suicide
                  terrorist was recruited for the attack in light of suspicions of collaboration against him and against
                  his family and to clear the family name. The suicide terrorist was a relative of the ex-Hamas
leader in Qalqilya, Abd al-Rahman Hamad (killed). Responsibility for the attack was claimed by the Izz al-Din al-
Qassam Brigades. The attack was carried out by the Hamas network in Qalqilya.


                                                          ***
         September 19, 2002: Suicide terrorist detonation on bus no. 4 on Allenby St. in Tel Aviv,
                                               6 killed and 71 injured


Iyad Radad - a resident of Ramallah, originally from Jordan, aged 23, arrived in Israel in July 2000, was recruited
by the Hamas military network in Ramallah for the purpose of carrying out a suicide attack. The person responsible
for the cell and for the recruitment of suicide terrorists and the execution of attacks was Mahmud Hamad Mahmud
Sharitah, aged 25, a resident of Yatta, a student at Bir Zeit University and a central operative in the student
movement representing Hamas at the university - the Kutla Islamiya [Islamic Bloc]. At the head of the network was
the Hamas headquarters in Ramallah, which was responsible for carrying out additional suicide attacks. Sharitah met
with the suicide terrorist in Ramallah according to instructions he received, and recruited him into the network. Two
days before the attack, the suicide terrorist was transferred by Sharitah to an operational apartment in Jerusalem,
photographed and equipped with the explosive belt. Ashraf Za'yir, a clothes merchant with a Jerusalem identity
card, drove him from the apartment to the location of the attack on Allenby St. while instructing him regarding the
outline of the attack he had chosen (an explosion inside the bus).


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                                    Suicide Terrorists in the Current Conflict

         September 18, 2002: Suicide terrorist detonation next to a police car near Umm al-Fahm,
                                          one policeman killed and 2 injured


                 Marzuq Jawadra - a resident of Bi’r al-Basha/Jenin, aged 21, single, detonated himself at a bus
                 station at Umm al-Fahm intersection. The explosive device was placed in a bag and activated
                 against police who arrived at the site after receiving a phone call about a suspected suicide terrorist
                 standing at the intersection. The attack was carried out by an Islamic Jihad organization in the
                 Qabatiya area.


                                                         ***


August 6, 2002: Suicide terrorist detonation in the car of an Israeli Arab who was driving him near Umm
                                                al-Fahm, one injured


                   Muhammad Asfar - a resident of Aksar village/Nablus, aged 19, single, worked at a meat
                   store, detonated himself inside the vehicle of an Israeli Arab, a resident of Nazareth, near Umm
                   al-Fahm. Responsibility for the attack was taken by the al-Nazir Brigades (a new Fatah Tanzim
                   cell), who released a message following heavy pressure from the family of the suicide terrorist,
                   to know what had happened to him, after he had been missing from his home for several days.
                   The dispatchers of the suicide terrorist were Ali Ajouri and Murad Marshoush, two of the
leaders of the Fatah network in Nablus.


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                                      Suicide Terrorists in the Current Conflict

               August 4, 2002: Suicide terrorist detonation on a bus at Mt. Meiron intersection,
                                                9 killed and 52 injured


Jihad/Mujahid Hamada - a resident of Burkin/Nablus, aged 20, originally from Jordan, was employed without a
permit by his uncle, doing electrical work. As part of his job he became acquainted with Ibrahim Muhammad
Ibrahim Bakri, an Israeli citizen from Bi’ina village who worked in partnership with his good friend Yassin Bakri
to carry out the attack. The suicide terrorist had been arrested in the past for illegally staying in Israel; he was
deported back to Palestinian Authority territory but continued being in contact with Ibrahim via telephone. Within
this contact the suicide terrorist told Ibrahim that he had been recruited into Hamas and that he wanted to carry out a
suicide attack. The suicide terrorist requested Ibrahim’s help in getting from one place to another. On the morning of
the attack, Ibrahim, Yassin and the suicide terrorist departed in the direction of Karmiel, to choose a bus route used
by many soldiers, with Ibrahim leading in his vehicle as a “route opener” and Yassin and the suicide terrorist in the
vehicle behind him. During the drive, the suicide terrorist changed his clothes into clothes intended to give him an
Israeli look. Due to the presence of security forces in Karmiel, the three drove towards one of the bus stops. The
suicide terrorist was dropped off at Shezor intersection, boarded Egged bus no. 361 to Safed, and when the bus
arrived at Meiron intersection, he activated the explosive device he was carrying and detonated himself.


                                                            ***
                    July 30, 2002: Suicide terrorist detonation on Nevi’im St. in Jerusalem,
                                                        5 injured


                       Hazem Yusuf - a resident of Beit Jala, aged 17, a high school student, detonated an explosive
                       device inside a bag he was carrying, near “Merkaz HaFalafel” on Nevi’im St. in Jerusalem.
                       Responsibility for the attack was claimed by the al-Aqsa Martyrs’ Brigades. Alaa Abd al-
                       Karim and Mahmud Hamash admitted in their interrogation with the Israeli Security
                       Agency that they were the ones responsible for preparing the explosive device and the
                       dispatching the suicide terrorist to the attack, after the latter approached Alaa Abd al-Karim
and asked to be sent on a suicide attack.


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                                      Suicide Terrorists in the Current Conflict

July 17, 2002: Detonation of 2 suicide terrorists on Neveh Sha’anan pedestrian street in Tel Aviv, 5 killed
                                                     and 33 injured


Ibrahim Naji - a resident of Balata village/Nablus, aged 18 and Muhammad Atallah, a resident of Askar village,
aged 19, detonated themselves in stages, around 30 seconds apart, at the entrance to the Neveh Sha’anan pedestrian
street, standing about 30m away from each other. The attack was carried out by the Nablus Fatah organization, led
by Ali Ajuri, who claimed responsibility for the attack on behalf of “Al Nazir Brigades.” The suicide terrorists were
recruited and smuggled into Israel by Fatah operatives. Islamic Jihad operatives supplied the explosive devices. The
terrorists traveled from Nablus to the Jenin region and stayed in the Umm al-Fahm area for around 5 hours before
departing for Tel Aviv. Their transport to Tel Aviv was provided by Khaled Ashour, a driver of illegal aliens, a
Jaffa resident, who told the Israeli Security Agency in his interrogation that the two told him they were intending on
carrying out a suicide attack but, due to fear for his life, he drove them to the place and didn’t tell anyone about it.


                                                           ***
                    June 19, 2002: Suicide terrorist detonation on French Hill in Jerusalem,
                                                7 killed and 39 injured


Sa’id Awada - a resident of Nablus, aged 17, a Tanzim operative, detonated himself at a shuttle station at the
French Hill intersection in Jerusalem. The attack was directed by the Fatah’s terrorism network in Nablus.


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                                     Suicide Terrorists in the Current Conflict

        June 18, 2002: Suicide bomber detonation on a bus in the Gilo neighborhood of Jerusalem,
                                               19 killed and 50 injured


                      Muhammad al-Ghul - a resident of Nablus, aged 22, a religious law Masters Degree student
                      at Al-Najah University, detonated himself on Egged bus no. 32 on Dov Yosef St. in the Gilo
                      neighborhood of Jerusalem. The suicide terrorist was spotted, recruited and trained by the
                      Hamas military network in Samaria. After two failed attempts to dispatch the suicide terrorist
                      for an attack and the elimination of Qais Adwan (one of the Hamas network’s leaders in
                      Samaria), the suicide terrorist was directed by Mazen Fuqaha to Muhanad Taher, who at that
point was head of the Hamas network in Samaria (killed). Mahaned Taher brought the suicide terrorist to Khalil
Marwan Khalil, a member of the organization in Samaria (detained), who drove him to Azaria in east Jerusalem
where he was supposed to be collected by prior arrangement of Ali Alan, a Hamas military operative from
Bethlehem. Ali used the assistance of his friend Ramadan Mushahara, and his brother, Fahmi Mushahara, both
residents of east Jerusalem with blue identity cards (detained), for the execution and planning of the attack. After the
gathering of intelligence carried out by Fahmi, the target of the attack was chosen – Egged route 32 traveling from
the Gilo neighborhood direction towards the center of Jerusalem. The target was chosen as attractive for carrying out
an attack given the fact that it stops at the Beit Safafa station, an area with a large Arab population, where a visibly
Arab person would not be viewed suspiciously. As part of the preparations for the attack, Fahmi traveled on this bus
route several times, bought a multiple-entry ticket and even had holes punched in it so that the suicide terrorist could
use it without raising suspicion. The suicide terrorist was transferred to Bethlehem, was accommodated overnight in
the city and the next morning driven to the Abu Dis area in Jerusalem, where he was picked up by Fahmi and the
two continued on the route towards west Jerusalem, with Ramadan Mushahara driving in front and alerting them to
any Israeli checkpoints. Upon their arrival at the bus station near Beit Safafa the suicide terrorist was dropped off, he
boarded the bus and detonated himself.
                                                           ***
    June 17, 2002: Detonation of a suicide terrorist suspected by border forces near Marja/Yarkon, no
                                                       casualties


Ala Marshud - a resident of Balata refugee camp/Nablus, aged 20, an electrical appliance factory worker, detonated
himself in Marja, after being suspected by border forces who called for him to stop and strip. Responsibility was
claimed by Fatah’s Al-Nazir Brigades. The Israeli Security Agency’s interrogation of Samer Hashash, a Tanzim


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                                     Suicide Terrorists in the Current Conflict

military operative from Nablus, revealed that the suicide terrorist was sent to the attack by Ali Ajuri, who also
provided him with the explosive device, and that the recruiter of the suicide terrorist was his brother Murad.


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            June 11, 2002: Suicide bomber detonation at the entrance of a restaurant in Herzliya,
                                         1 killed (female) and 12 injured


                    Omar Ziyada - a resident of Nablus, aged 29, married, father of a baby daughter, detonated
                    himself in Mifgash HaSharon Jamil restaurant in Herzliya. Responsibility for the attack was
                    claimed by the al-Aqsa Martyrs’ Brigades. The suicide terrorist worked as a trader and his
                    financial situation was good. In his will he asked to erase his debts to others. In the past he was a
                    member of Fatah and became religious a short while before the attack.


                                                          ***
                June 5, 2002: Suicide bomber detonation near a bus by Megiddo intersection,
                                              17 killed and 42 injured


Hamza Samoudi - a resident of Jenin, aged 18, drove in a car bomb, closely approached the rear part of the Egged
no. 830 bus traveling to Tiberias and detonated near it, around 500 m before Megiddo intersection. The Islamic
Jihad network from the Jenin area headed by Iyad Sawalha (killed) was the network responsible for the execution
of this attack. ISA’s interrogation of Sa'id Tubasi (a member of the network and Iyad’s senior assistant (-detained)
revealed that Iyad Sawalha asked him to arrange for a car to be made into a car bomb. Sa'id agreed and requested the
assistance of Shadi Amuri in arranging the matter. Shadi acquired a white vehicle, similar to a pickup truck
(Renault Kangoo), for which Sa'id transferred him 8000 NIS in exchange. Sa'id and Shadi approached Rushdi Nursi
and asked him for yellow license plates without explaining the purpose of their request. The two received the license
plates (from a stolen Subaru vehicle) and paid him 200 NIS. Sa'id and Shadi traveled to Iyad’s house after mounting
the yellow license plates and helped him load two barrels from his house. Iyad explained to them that they contained
explosives. Sa'id estimated that each barrel weighed around 55kg. In the days leading up to the attack, Sa'id dealt
with, among other things, manufacturing the device in the vehicle and preparing the suicide terrorist for the attack.


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                                      Suicide Terrorists in the Current Conflict

                      May 27, 2002: Suicide bomber detonation by a café in Petach Tikva,
                                          2 killed (females) and 30 injured


Jihad Titi - a resident of Balata village, aged 19, detonated himself at the entrance to the “Café Hamoshava” bakery
in Em Hamoshavot Mall in Petach Tikva. According to eye witnesses, the suicide terrorist tried to enter the
children’s play area in the mall but after he was unsuccessful, he went to the café. The attack was carried out by the
Tanzim military network in Nablus. The suicide terrorist was sent by Kamal Khatib, a member of the network who
works as a police officer in the Nablus Police Special Forces, and by Nahad Sabih and Ibrahim Abd al-Hai.
Additional operatives drove the suicide terrorist to the Rosh Ha’ayin area and from there the latter took an Israeli
taxi to the location of the attack.


                                                          ***


                        May 24, 2002: Suicide bomber killing in a car bomb in Tel Aviv
                                                       7 injured


                      Omar Shakukani - a resident of al-Bireh/Ramallah, aged 26, was driving at high speed
                      towards the entrance of a club on Kibbutz Galuyot St. in Tel Aviv, was stopped by the security
                      guard at the entrance and detonated. After the detonation of the vehicle in front of the club’s
                      entrance, it appeared as though the suicide terrorist was trying to exit the vehicle and was shot
                      again several times by the security guard. 4 pipe bombs were placed in the rear part of the car.
                      Al-Aqsa Martyrs' Brigades claimed responsibility for the attack. The ISA interrogation of
Amin Ziyad, a Tanzim military operative, who was involved in the dispatching of the suicide terrorist, revealed that
the person who had planned the attack and put together the car bomb was Muhammad Abu Hamid (detained).
Amin photographed the suicide terrorist on the evening before the attack using a camera he had brought from his
(female) cousin.


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                                     Suicide Terrorists in the Current Conflict

       May 22, 2002: Suicide bomber detonation on Rothschild pedestrian street in Rishon LeZion,
                                                2 killed and 36 injured


                   Issa Badir - a resident of Duha/Bethlehem, aged 17, detonated himself on the Rothschild
                   pedestrian street in Rishon LeZion. The suicide terrorist was led, from Bethlehem to Rishon
                   LeZion, in the vehicle of Ibrahim Sarahana from Dahshiya and his wife Marina Pinski, a
                   Jewish, Israeli citizen who emigrated from Russia 11 years ago. The ISA interrogation of the two
                   leaders revealed that an additional female terrorist Arin Ahmad, aged 20 from Beit Sahour
(detained) was supposed to take part in the suicide attack, according to the plan she was to detonate herself at the
point when search and rescue forces arrived to take care of the casualties from the first blast. When they were on
their way to carry out the attack, Arin changed her mind and was returned to Bethlehem. On May 27, 2002, all
operatives of the Tanzim military network which was behind dispatching the suicide terrorist to the attack were
arrested in Dahshiya refugee camp. Among the detainees was Ahmad Yusef Ahmad Mughrabi, head of the
network and a senior wanted person who admitted in his interrogation with the ISA that he had offered to assist
Ibrahim Sarhana in the execution of attacks and told of his involvement directing the attack and preparing the
devices for the suicide terrorists. Along with him, his brother was arrested – Ali Mughrabi, a 16-year-old resident
of Dahshiya, who admitted in his interrogation that he was instructed by his brother Ahmad to pay the suicide
terrorist and obtain a stolen car for the execution of the attack. Ali also admitted that he knew the pair of suicide
terrorists and said that he filmed the suicide terrorists before their departure for the attack. Another detainee was
Mahmud Sarahana, a Tanzim operative from Dahshiya, who was involved in transporting the suicide terrorists to
the field. Mahmud said that he had prepared the terrorist for the attack and dyed his hair. Later, Mahmud transferred
the suicide terrorists into Ibrahim and Marina’s hands and they led him to the center of the country.
                                                           ***
      May 20, 2002: Suicide bomber detonation at a bus station near a border police jeep at Ta’anach
                                                intersection, 3 injured

                     Muhammad Hamadiya - a resident of Jenin, aged 20, a tailor, detonated himself at the
                     Ta’anachim intersection bus station near a border police jeep. Responsibility for the attack was
                     claimed by the Islamic Jihad, the attack was carried out by the Islamic Jihad network in Jenin,
                     headed by Iyad Suwalha (killed). Muhammad Abu Tabih, an Islamic Jihad military operative
                     (detained) admitted in his interrogation that he himself recruited the suicide terrorist for the
                     attack. Muhammad Abu
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                                     Suicide Terrorists in the Current Conflict

Tabih linked the suicide terrorist with Iyad Sualaha. After the attack, Abu Tabih met with Iyad Suwalha who
expressed disappointment at the failure of the attack.


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                       May 19, 2002: Suicide bomber detonation at a market in Netanya,
                                                3 killed and 60 injured

Osama Bashkar - a resident of Askar refugee camp/Nablus, aged 18, wandered around the market in Netanya
wearing an IDF uniform and carrying a black bag, he was suspected due to his Middle Eastern appearance and
detonated himself immediately thereafter. Responsibility for the attack was claimed by the “Popular Front”
organization, the attack was carried out by the “PFLP” network in Nablus, with Alam Ka’abi in its center. The
network operatives behind this attack were in constant contact with the PFLP prisoners in Jericho via messengers
and also in continuous contact by phone. During the previous days Ahad Oulma and the other PFLP prisoners had
been updated regarding the plans to carry out the attack. On May 23, 2002, Adel Adnan Mahmud Jum’a, a
resident of Tayibe, was arrested. In his interrogation with the Israeli Security Agency he admitted that he had driven
the suicide terrorist together with a female who served as the suicide terrorist’s guide. Adal noted that he understood
that he was transporting a suicide terrorist only after dropping the suicide terrorist off and hearing the explosion.
After the attack, he returned the suicide terrorist’s guide to Baqa al-Gharbiyye. On June 6, 2002, Du'a Ziyad Jamil
Jayusi, a resident of Tulkarem, studying at al-Najah University, was arrested. Du'a mentioned in her interrogation
that she was requested by the Popular Front network in Nablus to lead the suicide terrorist into Netanya to give him
an innocent appearance. Du'a also added that before dropping the suicide terrorist off at the market in Netanya, the
terrorists looked into the options of carrying out the attack at the mall in Netanya and in the promenade area.

                                                           ***
      May 8, 2002: Suicide bomber sustains heavy injuries at a shuttle stop at Megiddo intersection,
                                                         3 injured
Zaydan Zaydan - a resident of Jenin, aged 19, was injured in the detonation of an explosive device he was carrying
in his bag at a shuttle stop at Megiddo intersection. After the explosion, shots were fired toward the suicide terrorist
by a bomb disposal police officer who was at the site. The suicide terrorist was injured in his arms and legs. The rest
of the explosive device which remained in the bag was later detonated by a police robot. In his interrogation, the
suicide terrorist informed the Israeli Security Agency that he had asked Mahmud Tuwalba (killed), one of the
heads of the Islamic Jihad in Jenin, to depart for the attack. A person acting on behalf of Mahmud provided the
suicide terrorist with a device weighing
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                                      Suicide Terrorists in the Current Conflict

around 18kg. The suicide terrorist took a taxi to Anin, walked from there to Umm al-Fahm and continued by
hitchhiking to Wadi Ara. Responsibility for the attack was claimed by the Islamic Jihad.


                                                           ***
                May 7, 2002: Suicide bomber detonation at a billiards club in Rishon LeZion,
                                               16 killed and 51 injured


                    Muhammad Mu’amar - a resident of the Krayot/Nablus, aged 28, originally from Jordan,
                    associated with Hamas, entered “Sheffield” club on Sahrur St. in the Rishon LeZion industrial
                    zone, carrying a suitcase, he walked toward the center of the room, to a gathered crowd near the
                    slot machine and detonated himself. The Izz al-Din al-Qassam Brigades publicly claimed
                    responsibility for the attack; the message also included threats of further attacks. The attack was
                    carried out by the Hamas network in Ramallah in collaboration with a Jerusalem cell, with
Muhammad Imran serving as the contact person between Wael Qasem (killed), a Hamas operative from Ras al-
Amoud, and Ibrahim Hamed, head of the Hamas network in Ramallah. In practice, Amran transferred the
instructions for carrying out the attacks, transferred the suicide terrorists and the explosive devices.


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                  April 20, 2002: Suicide bomber detonation near a checkpoint in Qalqilya,
                                                      no casualties


Unknown - a suicide terrorist detonated near checkpoint 108, west of Qalqilya during a suspect arrest procedure.
The Hamas website quoted a spokesperson on behalf of the Izz al-Din al-Qassam Brigades who announced that the
perpetrator of the attack near Qalqilya was Mahmud Muhammad Yusuf Shuli, from Asira ash-Shamaliya, north of
Nablus. The spokesperson said in a telephone call that so far responsibility had not been officially claimed due to
security reasons. Mahmud Shuli worked for National Security, he had informed his family in the past that he would
carry out an attack and then disappeared. The attack was carried out by a collaboration between the Hamas military
networks in Nablus and Qalqilya.


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                                     Suicide Terrorists in the Current Conflict

 April 19, 2002: Suicide bomber detonation in a car bomb near an IDF post at Gush Katif intersection, 2
                                                        injured


                      Abdallah Abu Ouda - a resident of Khan Yunis, aged 19, drove a white pickup type Peugeot
                      504 car bomb with an open rear trunk. The suicide terrorist arrived with the car at Pillbox 24 at
                      Gush Katif intersection, with 2 cars in front and adjacent to him, obscuring the front of the car
                      from the IDF pillbox viewpoint. When the 2 cars in front passed Pillbox 24 and moved away
                      from the intersection, the suicide terrorist reduced the speed of the vehicle, bringing himself to
                      a distance of several meters from the pillbox. A soldier at the post aimed his weapon at him
with the intention of opening fire at him. The suicide terrorist swerved the car from the driving route, approached the
concrete walls surrounding the pillbox and detonated the car. Responsibility for the attack was claimed by Islamic
Jihad.
                                                          ***


         April 12, 2002: Female Suicide bomber detonation at Mahane Yehuda market in Jerusalem,
                         6 killed (including 2 Chinese foreign workers) and 60 injured


Andalib Taqatiqa – a 21-year-old Tanzim operative from Bethlehem. The attack was directed by Muataz Haimoni,
the Palestinian Liberation Front (PLO) operative who was arrested as part of Operation ‘Defensive Shield.’ The
person who prepared the device for the attack was Marwan Zulum, the Tanzim senior in Hebron, who was killed as
a result of an initiated operation by the Security Forces. The device comprised of three plastic pipes and a battery,
and was hidden in a black women’s bag for the purpose of concealing it. On the day of the attack the suicide terrorist
was driven to Abu Dis and from there she took a taxi into the city of Jerusalem, reached Mahane Yehuda market –
where she detonated herself near an Egged bus. Several days before the attack, the suicide terrorist was filmed on a
video camera, wearing black and holding a Qur’an.




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                                                                                               Israeli Security Agency [logo]
                                      Suicide Terrorists in the Current Conflict

                 April 10, 2002: Suicide bomber detonation on a bus near Yagur intersection,
                                                8 killed and 17 injured


                   Ragheb Jaradat – a resident of Silat al-Khartiya/Jenin, aged 18, detonated himself inside a bus
                   which was on its way from Haifa to Jerusalem between Yagur intersection and Ha’Amakim
                   intersection. Responsibility was claimed by Islamic Jihad operatives. The network behind the
                   attack was the network of Iyad Sawlaha (killed) and Khaled Zkarna. Ayad and Khaled were the
                   ones who prepared Ragheb for the attack.


                                                           ***
              April 1, 2002: Suicide bomber detonation near a police checkpoint in Jerusalem,
                                               one police officer killed


                    Rami Issa – a resident of Dahshiya refugee camp/Bethlehem, aged 23, was a member of a
                    Tanzim military cell which carried out dozens of gunfire and bomb attacks in the Bethlehem and
                    Jerusalem area. (Cell members were detained). Around 6 months before the attack, along with
                    another youngster, they had robbed and murdered a money changer. The two were arrested,
                    released from their arrest several days before IDF entered the city and were recruited by Fatah
                    officials in Dahshiya refugee camp. On the day of the attack, police officers standing at the police
checkpoint on Hanevi’im St., on the corner of Shivtei Israel St. in Jerusalem, noticed a suspicious vehicle on the
pavement of Route 1. When the two officers arrived to inspect it, an explosion occurred. Responsibility for the
attack was taken by al-Aqsa Martyrs’ Brigades. Witness testimonials at the scene revealed that a driver who had led
the suicide terrorist fled moments before the blast. The suicide terrorist’s accompaniers to the attack were arrested
by the Israeli Security Agency and IDF. The detainees are brothers from the Sarahna family, residents of Dahshiya
refugee camp, who admitted in their interrogation with the Israeli Security Agency to taking part in dispatching the
suicide terrorist to the attack, while exploiting the blue identity cards of the wife and daughter of one of the
operatives for the purpose of leading the suicide terrorist into the territory of Jerusalem.


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                                     Suicide Terrorists in the Current Conflict

                  March 31, 2002: Suicide bomber detonation near a medical clinic in Efrat,
                                                          6 injured


                   Jamil Hamid – a resident of Bethlehem, a minor aged 16, who was recruited by Fatah, arrived in
                   a vehicle from the direction of Wadi Nis up to the Efrat settlement gate, exited the vehicle about
                   10m from the gate, entered the settlement on foot and detonated himself near an MDA (Magen
                   David Adom) station. Responsibility for the attack was claimed by the al-Aqsa Brigades. The
                   explosive device which was on his person was prepared by Yahya Da'masa and Ahmad
                   Mugrabi, among the leaders of the Fatah network in Bethlehem. Riyad al-Amur and Ibrahim
Ubiyat were the initiators and directors of the attack.


                                                            ***


                 March 31, 2002: Suicide bomber detonation at “Matza” restaurant in Haifa,
                                               15 killed and 34 injured


Shadi Tubasi – a resident of Jenin, aged 24, holder of an Israeli ID, due to his mother being an Israeli citizen from
Muqeible, entered the “Matza” restaurant in Neve Sha’anan/Haifa carrying on his person a device concealed in a
khaki colored explosive belt, and detonated himself. The attack was carried out under the direction of the Hamas
network in Jenin, headed by Qais Adwan. The suicide terrorist had been arrested in the past for disorderly conduct
as well as being arrested in Israel for criminal offenses. According to the interrogation of Bilal Ruzi, Shadi was
arrested in the Palestinian Authorities [sic] and accused of collaboration. The suicide terrorist wanted to clear his
name and approached Hamas asking to prove that he is not a collaborator by carrying out a suicide attack. His
arrival at the site of the attack and selection of an attack target were done independently, with no accompaniment,
while exploiting the fact he carried an Israeli ID.


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                                      Suicide Terrorists in the Current Conflict

 March 30, 2002: Suicide bomber detonation in a car and the killing of an additional terrorist during their
                     shooting down in Tulkarem, one police officer killed and one injured


                      Majdi Hanfar – a resident of Jenin, aged 21, approached Ahmad Ali Mahmud Abu Khadar,
                      a resident of Nablus, an Al-Aqsa Brigades operative and the right hand man of Nasser Awis,
                      the Tanzim commander in Nablus, asking to carry out a suicide attack. Abu Hadar informed
                      Nasser that he had a suicide terrorist available and Nasser requested to meet him the next day.
                      Abu Khadar took the suicide terrorist to the studio in Nablus to be photographed and later
                      drove the suicide terrorist to Nasser’s home and left him there. He was also requested by
Nasser to purchase a car with Israeli license plates. On the day of the attack the suicide terrorist departed, carrying
an explosive belt on his person, along with another terrorist, Fathi Amira, who was armed with an M-16 rifle and
cartridges to carry out an attack. The two arrived in the Baqa al-Gharbiyyeh area, were surprised by border forces
and began exchanging fire when the suicide terrorist detonated the explosive belt he was carrying while Fathi was
firing at the forces, until a border officer was killed by the gunfire.


                                                            ***


                   March 30, 2002: Suicide bomber detonation at “Bialik” café in Tel Aviv
                                          one (female) killed and 29 injured


                    Muhanad Salahat – a resident of Nablus, aged 23, entered the café wearing jeans and a blue
                    coat, stood near the drinks bar and detonated himself. Responsibility for the attack was claimed
                    by the al-Aqsa Brigades. The suicide terrorist was recruited into the al-Aqsa Brigades in Nablus
                    around 3 months before the attack. On the morning of the attack, he left his village for Israel
                    after shaving and having his hair cut very short. He had also informed his family of his intention
to carry out an attack.




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                                      Suicide Terrorists in the Current Conflict

                 March 27, 2002: Suicide bomber detonation at the “Park” Hotel in Netanya
                                              29 killed and 144 injured


                     Abd al-Baset Odeh – a resident of Tulkarem, aged 25, entered the Park Hotel in Netanya while
                     dozens of citizens were having their Leil Haseder (Passover) meal and detonated himself. The
                     attack was directed by the Hamas military networks in Tulkarem and Nablus, headed by Abbas
                     al-Sayyid and Muhanad Taher. Abbas al-Sayyid, responsible for the attack from Tulkarem
                     (detained), served as the Hamas military leader in the area. Abbas admitted in his interrogation
that he had planned to execute the attack many months earlier, but his plans were postponed. Abbas was the one
who instructed Ma’amar Shachruri, an operative from the network, to obtain 2 explosive belts from the military
network in Nablus and was the one who suggested for Fathi Hatsib to lead the suicide terrorist into Israel and locate
an appropriate target destination for the attack. Before the attack, Abbas and other operatives from the network
prepared Abd al-Baset for the execution of the attack - the suicide terrorist shaved his beard, applied make up, wore
a pair of feminine blue jeans, women’s shoes, a straight hair wig, a brown shirt and a brown leather coat with a
leopard print collar. This was all for the purpose of assimilating himself in crowded areas in Israel. Abbas equipped
the suicide terrorist with the explosive belt, which had the appearance of a khaki colored vest with pockets, in which
the explosive materials were concealed, which weighed 10kg, and explained to him how to operate it. After
photographing the suicide terrorist with an M-16 rifle, the movement’s flag in the background and photos of Shahids
[martyrs], Abbas wrote the suicide terrorist’s will in which it is stated that he is going to carry out an attack on
behalf of the Izz al-Din al-Qassam Brigades. In addition, Abbas equipped the suicide terrorist with a woman’s ID.
Muhanad Taher, a resident of Nablus, who served as head of the military arm of Hamas in Samaria (killed), was
responsible for supplying explosive belts from the network in Nablus to the network in Tulkarem. Fathi Hasib, a
Tulkarem resident (detained), admitted in his interrogation that he had purchased a vehicle in Israel in which he led
the suicide terrorist up to Tulkarem, where the two got into another car and drove from there into Israel.


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                                     Suicide Terrorists in the Current Conflict

   March 29, 2002: Female suicide bomber detonation at a supermarket in Kiryat Yovel in Jerusalem, 2
                                               killed and 22 injured


                    Ayat al-Akhras – an 18-year-old girl from Dahshiya refugee camp near Bethlehem.
                    The Fatah Tanzim organization took responsibility for the attack. The suicide terrorist was
                    carrying the explosive device that had been prepared for her in a black women’s bag. Ibrahim
                    Sarahna and his brother Musa Sarahna led the suicide terrorist to the destination of the attack.
                    The two led the suicide terrorist in a red pickup truck close to the supermarket in the Kiryat
                    Yovel neighborhood of Jerusalem. Prior to the attack, Musa approached two elderly Arab ladies
who were selling vegetables and warned them of the attack which was about to occur. Before departing to carry out
the attack, the suicide terrorist was filmed on a video camera and wrote a will in which she said goodbye to her
family.


                                                         ***


                    March 26, 2002: Suicide attack attempt at Haris/Qalqilya checkpoint,
                                                    no casualties


Unknown – an Israeli Police force, who was sitting in a police vehicle, identified a suspicious person standing near
Haris intersection. The police force called for the unidentified person to come closer for the purpose of questioning,
the unidentified person approached the police vehicle, attempted to open the car door while activating an explosive
belt which he was carrying on his person. Upon recognition of the activation attempt, the police vehicle moved away
from the area, the unidentified person took advantage of the delay, removed the explosive belt he was wearing on his
person and fled into the village of Haris. Overall information revealed that the Nablus and Jenin PFLP organizations
were behind this attempted attack.


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                                     Suicide Terrorists in the Current Conflict

                   March 22, 2002: Suicide bomber detonation at Salem/Jenin checkpoint,
                                                  one soldier injured


                       Anad Shaqirat – a resident of Ein Beit al-Ma refugee camp/Nablus, aged 25, who was
                       carrying an explosive belt on his person, took a Palestinian taxi, got out next to the checkpoint
                       and detonated himself. The attack was carried out in cooperation between the Tanzim
                       networks in Nablus and Jenin and with the assistance of the Islamic Jihad. Ziyad Yunis, from
                       the Tanzim in Jenin, transferred the suicide terrorist and another person from Ein Beit al-Ma
                       refugee camp into the hands of Muhammad Nurisi, a Tanzim operative from Jenin refugee
camp who was supposed to dispatch them for an attack. The two returned for unclear reasons to Jenin and were
arrested on their way by the military. During the arrest, the suicide terrorist detonated himself. Interrogations of
detainees of this case revealed that the device was prepared by Majed Qini from the Tanzim network in Nablus.
                                                          ***


          March 21, 2002: Suicide bomber detonation in a café on King George St. in Jerusalem,
                                               3 killed and 80 injured


Muhammad Hashaika – a resident of Talouza/Beka’ot, aged 21, a Palestinian policeman from Tall/Nablus,
detonated himself at the entrance to a café on King George St. in Jerusalem. Responsibility for the attack was
claimed by the al-Aqsa Brigades, who are identified with Fatah. The suicide terrorist had been arrested in the past by
the systems of the “Authority,” after receiving information from Israel regarding his intention to carry out a suicide
attack within the “green line” zone. In his interrogation then, Muhammad admitted that he was planning on carrying
out an attack in Ra’anana and that he had also been involved in smuggling the 2 suicide terrorists, who detonated
themselves after running into Israeli security forces near Mei Ami (February 8). Later, the suicide terrorist was
transferred, at the Palestinians’ request, with an Israeli permit and escort, from Tulkarem to Ramallah, for the
purpose of detaining him there, and then he was either released or escaped with the authority turning a blind eye.
Several days before the attack, contact was renewed between the suicide terrorist and Nasser Shawish, who had
tried to dispatch him for an attack in the past, and with the renewed contact preparations were complete for
dispatching Mohammed for an attack. Muhammad was directed and dispatched for the attack by Abd al-Karim
Awis and Nasser Shawish from the Tanzim network in Jenin. The leading of Muhammad to the attack location was
done by two young women (arrested).
                                                          ***
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                                     Suicide Terrorists in the Current Conflict

          March 20, 2002: Suicide bomber detonation on a bus at Musmus/Wadi Ara intersection
                                  7 killed (including 4 soldiers) and 28 injured


                    Rafat Abu Diyak – a resident of Silat al-Dhahr/Jenin, aged 24, worked in a clothing store in
                    Jenin. The suicide terrorist boarded Egged bus no. 823 from Tel Aviv to Nazareth Illit at Umm
                    al-Fahm intersection and detonated himself at Musmus intersection near the rear door. The
                    Islamic Jihad headed by Thabet Mardawi took responsibility for the attack before the Islamic
                    Jihad headquarters in Syria. In Thabet Mardawi’s interrogation, the latter said that around a
                    week before the attack, the suicide terrorist Abu Diyak approached Mahmud Nursi and told
him that he was intending to carry out a suicide attack. Thabet said he was present for the conversation between the
suicide terrorist and Mahmud Nursi. Thabet also said that if the suicide terrorist could enter Israel alone, they would
supply him with the explosive belt. On the evening before Rafat’s departure for the attack, Mahmud Nursi gave him
an explosive belt, which was prepared by Thabet and Mahmud.


                                                          ***



            March 17, 2002: Suicide bomber detonation at French Hill intersection in Jerusalem
                                                      25 injured


                       Akram Nabtiti – a resident of Ayida refugee camp, aged 24, an Islamic Jihad operative,
                       worked as a tailor, attempted to board the bus on French Hill in Jerusalem, upon failing to
                       board the bus he detonated himself next to it. The attack was carried out by the leading
                       Islamic Jihad military network in Bethlehem headed by Muhammad Ta’amri. In addition,
                       Bassam Abu Aqar and Ahmad Balbul participated in the execution of the attack, with
                       Bassam even taking care of writing the suicide terrorist’s will.


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                                     Suicide Terrorists in the Current Conflict

                 March 9, 2002: Suicide bomber detonation at Café “Moment” in Jerusalem,
                                              11 killed and 58 injured


                     Fuad Hurani – a resident of Al’Arub refugee camp (born in Bethlehem), aged 22, a student at
                     the teachers college in Ramallah, a religious Hamas operative, his father is a Palestinian
                     Authority officer. Around two years before the attack, he was suspected by the Palestinian
                     Preventative Security Services of intending to carry out a suicide attack as part of Hamas. The
                     Hamas headquarters in Ramallah was responsible for the execution of this attack with
                     assistance from an east Jerusalem cell. At the Israeli Security Agency it was revealed that
Ibrahim Hamed, head of the military Hamas in Ramallah told Muhammad Arman that he had a suicide terrorist
available and instructed him to transfer him to Wa’el Qasem, commander of the east Jerusalem cell. The collection
point for the departure for the attack was set in the mosque in Beit Hanina. Arman and the suicide terrorist met at the
al-Bireh mosque. Hamed took the suicide terrorist from the mosque, equipped him for the attack and accompanied
him to a taxi stand, from which the suicide terrorist drove to the new Beit Hanina mosque. In his interrogation he
said that the suicide terrorist waited for him near the new Beit Hanina mosque, where he picked him up and dropped
him off at the intersection before the café, showed the suicide terrorist the attack target and drove away. Moreover,
along with other cell members, Wa’el Qasem dealt in gathering information on additional destinations for attacks.
                                                          ***

    March 7, 2002: Detection of a suicide terrorist with an explosive device concealed in a birdcage in
                                                Karkur, no casualties


                      Bilal Walid Ali – a resident of Sanur/Jenin, aged 18, was walking around with a birdcage in
                      the Karkur area. An Israeli citizen who suspected him called out to him in Hebrew to stop and
                      when he received no reply, spoke to him in Arabic. The suicide terrorist placed the birdcage on
                      the ground and then the citizen noticed pipes on the suicide terrorist’s body, presuming he had
                      an explosive belt. The citizen retreated and the suicide terrorist fled the scene. The birdcage he
                      left behind was found to be booby trapped with an improvised explosive device and a switch.
The next day, the suicide terrorist was caught and admitted in his interrogation that he had agreed to carry out a
suicide attack after falling out with his father and becoming tired of his life. According to him he was photographed
by his dispatchers holding a gun and a pistol, had the explosive belt strapped to him and was equipped with the
booby trapped birdcage. After receiving instructions as to how to operate the devices,
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                                     Suicide Terrorists in the Current Conflict

he was smuggled by operatives into Israeli territory in order to carry out the attack. The suicide terrorist also turned
in the explosive belt, which was detonated by an explosives expert. The attack was directed by the Islamic Jihad
organization.
                                                           ***
                March 7, 2002: Detection of a suicide terrorist at Eshel Hashomron hotel in Ariel,
                                                        9 injured

                        Shadi Nasser – a resident of Madama/Bek’aot, aged 24, arrived on foot, dressed in a long
                        coat, from the direction of Kifl Hareth towards the gas station at the entrance to Ariel while
                        carrying a yellow plastic jerry can for petrol. Upon his arrival near the gas station he turned
                        towards the “Eshel Hashomron” hotel, located near the station, and placed the empty jerry
                        can in the corner at the entrance to the hotel. At this stage the suicide terrorist aroused the
                        suspicion of citizens at the scene, who alerted two IDF officers in order to arrest him. The
                        suicide terrorist managed to make it to the hotel, went up to the upper floor, down to the
lobby again, where he ran into the two officers and activated the explosive device he was carrying on his person.
The attack was carried out by the Popular Front military network in Nablus, headed by Kamil Abu Hanish
(detained). During the interrogation of Mahmud Issa, one of the Nablus military PFLP’s leaders, the latter said that
Kamil Abu Hanish approached him and told him that there was a young man from Madama/Beka’ot, a recruit of
Yamen Faraj (killed), who was supposed to carry out a suicide attack in Ariel. Kamil also asked Issa to approach
Fatah operatives in order for them to prepare an explosive device for him. An operative named Munzar Khalaf
drove the suicide terrorist in a shuttle vehicle up to the taxi station in Rafidia where they met with Yamen Faraj,
from which point Yamen and the suicide terrorist continued in the direction of the Tel checkpoint, where the suicide
terrorist headed on to Ariel.
                                                           ***
                  March 7, 2002: Capturing of a suicide terrorist at Café “Caffit” in Jerusalem,
                                                     no casualties

Nidal Mish’al – a resident of Makbar/Jerusalem, aged 21, a Hamas operative, entered Café “Caffit” on Emek
Refa’im St. on the corner of Hanania St. in Jerusalem with a bag containing an explosive device. Wires were visible
on the bag, and the suicide terrorist was shaking, which aroused the suspicion of one of the employees who pinned
him down, with the help of other citizens. The Hamas network in Bethlehem was behind this attempted attack and
within its exposure it was revealed that it was based on 6 students from Abu Dis College (detained), who formed a
central component in the preparations for the attack, the recruitment of the suicide terrorist and his dispatching to
Jerusalem. In his interrogation, the suicide terrorist said that Mumammad Khalil Shaqirat
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                                      Suicide Terrorists in the Current Conflict

recruited him into the “Izz al-Din al-Qassam Brigades,” and they later discussed the idea of Nidal’s suicide in an
attack. The suicide terrorist wanted to die in the attack out of the belief that he would die a “shahid” [martyr] and he
also aspired to avenge the deaths of the shahids [martyrs] who had been killed in the Intifada.
                                                           ***
                         March 5, 2002: Suicide terrorist detonation on a bus in Afula,

                                                1 killed and 20 injured

                    Abd al-Karim Tahaina – a resident of Silat al-Khartiya/Jenin, aged 23, detonated himself at the
                    Afula central station on bus no. 823 which was making its’ way from Nazareth Illit to Tel Aviv.
                    The driver’s account revealed that the suicide terrorist boarded the bus at the Nazareth Illit
                    central station wearing jeans, a white-cream colored turtleneck shirt and an IDF type duffle coat.
                    He gave the driver a 50 NIS bill and moved towards the rear part of the bus, when he was called
                    by the driver to take his change, he reached the driver, took the change and returned to sit at the
back of the bus. At the entrance to the central station in Afula he activated the explosive belt on his person.
Responsibility for the attack was claimed by the Islamic Jihad.


                                                           ***
                  March 2, 2002: Suicide terrorist detonation on Haim Ozer St. in Jerusalem,

                                                          10 killed and 46 injured

                    Muhammad Darghama – a resident of Dahshiya refugee camp/Bethlehem, aged 18, detonated
                    himself on Haim Ozer St. in the Beit Israel neighborhood of Jerusalem, on Saturday evening,
                    near a group of people exiting the synagogue. According to an eyewitness account, the suicide
                    terrorist was disguised as an ultra-orthodox Jew. Responsibility for the attack was claimed by the
                    “al-Aqsa Martyrs’ Brigades.” The suicide terrorist was led to the site by Ashraf Hajajra, aged
                    20, a “professional” criminal from Dahshiya refugee camp who was arrested near the scene of
the attack. In his interrogation at the Israeli Security Agency, Ashraf admitted to that which was attributed to him
and regarding the Tanzim military network in Dahshiya refugee camp/Bethlehem which carried out the attack. On
May 27, 2002, the network seniors Ahmad Mughrabi and Mahmud Sarahna, who had confessed in their
interrogation as to their responsibility for the direction of the execution [sic] and preparation of the network for it,
were arrested.
                                                           ***

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                                     Suicide Terrorists in the Current Conflict

              February 27, 2002: Female suicide bomber detonation at Maccabim checkpoint,
                                                2 injured (policemen)
Darin Abu-Aysha – aged 22, a resident of Beit Wazan in Samaria. The suicide terrorist arrived at Maccabim
checkpoint heading from east to west in a vehicle with two Tanzim operatives, Hafez Muqbil and Musa Hasuna. The
two were asked to show their identity cards, when the suicide terrorist was asked to identify herself, the detonation
occurred. The suicide terrorist was killed, and two Israeli police officers sustained minor injuries. Before her
departure for the suicide attack, the suicide terrorist was photographed holding a sharp knife by Ahmad Aasi, a
journalist from Ramallah. The Fatah’s Tanzim organization claimed responsibility for the attack.


                                                          ***
                   February 22, 2002: Suicide bomber detonation at a supermarket in Efrat,
                                                       3 injured


                    Muhammad Dar Yassin – a resident of Doha/Bethlehem, aged 26, worked as a construction
                    worker in Efrat, attempted to detonate himself using an explosive belt in a supermarket, located
                    in the southern shopping center of the settlement. Since he did not succeed in detonating the
                    explosive belt, which contained pipe bombs and a pressure charge, and after he was identified as
                    a terrorist he was shot dead by an Efrat resident. The attack was directed by the Tanzim network
                    in Bethlehem headed by Yahya Da’amsa, in collaboration with Rafat Jawabra, head of the
Tanzim in Doha.


                                                          ***
              February 22, 2002: Suicide bomber detonation near a bus at Mehola intersection,
                                                     no casualties


                     Omar Yassin – a resident of Junaid/Nablus, aged 20, attempted to board an Egged bus
                     traveling from Jerusalem to Tiberias. The driver, who suspected the suicide terrorist due to the
                     way he was dressed (an inflated coat) and his appearance, instructed him to get off the bus for
                     an inspection. When the driver began the inspection the suicide terrorist fled, and after a few
                     meters he detonated himself




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                                     Suicide Terrorists in the Current Conflict

and was killed. Responsibility for the attack was claimed on behalf of the Black Arms/the al-Aqsa Martyrs’
Brigades. Behind the dispatching of the suicide terrorist to the attack was The Tanzim network in the village of
Qalil, headed by Majed Qini, who prepared Amar for the attack and accompanied him for part of the way, up to
Wadi Bidan, from which point he was picked up by another operative who led him to the area of the attack.
                                                           ***
         February 18, 2002: Suicide bomber detonation in a car bomb next to al-Za'im checkpoint,
                                         one policeman killed and 2 injured


                     Yasser Owda – a resident of Beit Sahour, aged 34, married and father of three, a Fatah
                     operative, originally from Jordan, received an identity card by family unification, due to his
                     wife being a resident of Beit Sahour. The suicide terrorist was parked in a gray Peugeot 205
                     vehicle, on the roadside on the route from Ma’ale Edumim to Jerusalem. A police car with two
                     policemen noticed the vehicle, suspected it, and when they noticed the suicide terrorist
                     distancing himself from the car, they detained for questioning. The suicide terrorist claimed he
was a resident of Abu Dis, married with three children and that he was stuck without gas and was on his way to Al-
Tur to fill up gas. While one of the policemen exited the police car to question him, the suicide terrorist leapt into
the vehicle and activated the explosive device. The attack was carried out by the Tanzim network in Bethlehem,
under the direction of Ahmad Ma’arbi, who admitted in his interrogation at the Israeli Security Agency that he had
sent the suicide terrorist to detonate himself in the car bomb around a week before carrying out the attack at the
checkpoint but he did not detonate it, as he didn’t find an appropriate place to do so.
                                                           ***
February 17, 2002: The killing of 2 suicide terrorists on their way to carry out an attack near Camp 80, 2
                                                    injured policemen

Muhammad Hamouda – a resident of Nablus, aged 18 and Abd al-Jabar Khaled, a resident of Jayyous/Qalqilya,
aged 22, drove in a Mazda 323 vehicle towards Hadera. A police vehicle on the road suspected them and decided to
pull over the vehicle. While driving, they opened fire from the vehicle towards the police car. The vehicle stopped in
the Camp 80 area, letting one terrorist out who apparently cast a device or grenade and attempted to shoot at the
policemen. The policemen returned fire and killed the terrorist. The second terrorist continued driving in the
direction of Talmei Elazar with the police car chasing while continuing to fire. In the Metzer area, while the
policemen were trying to overtake the vehicle, an explosion occurred in the terrorist’s vehicle and the vehicle began
to go up in flames. Responsibility for the attack

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                                      Suicide Terrorists in the Current Conflict

was claimed by the al-Aqsa Martyrs’ Brigades. Ayad Mahmud Salah Nasser, a Fatah military operative in
Tulkarem, told in his interrogation at the Israeli Security Agency of his involvement in the attack and the
involvement of Muhammad Zitawi, head of the Tanzim in Tulkarem, in the execution of the attack.
                                                            ***
         February 16, 2002: Suicide terrorist detonation at the shopping center in Karnei Shomron,

                                                 3 killed and 22 injured

Zadek Abd al-Hafat – a resident of Qalqilya, aged 19, a student at the vocational college in Kalandia, detonated
himself at a pizzeria in the shopping center in Karnei Shomron. The “Popular Front” claimed responsibility for the
attack. The attack was planned and executed by the PFLP military network in Qalqilya, under the direction of Raad
Madi, in collaboration with the PFLP network in Nablus, headed by Ahad Oulma.
                                                            ***
 February 6, 2002: Capturing of a suicide terrorist on a bus traveling from Jerusalem to Ma’ale Edumim,
                                                      no casualties


                      Nidal Sourakji – a resident of Nablus, aged 23, boarded Egged bus no. 176 at French Hill
                      intersection and seated himself next to the driver. The driver noticed him moving his hands
                      inside the pocket of the coat he was wearing and suspected him when he saw electrical wires
                      protruding from his coat. At al-Za'im intersection, the driver brought border force police onto
                      the bus, who bound the suicide terrorist’s hands and removed him from the bus. Explosives
experts neutralized the explosive belt’s activation system. In his interrogation, the suicide terrorist said that he had
agreed to be a shahid as he was deeply affected by the death of his relative, Yusuf Surkaji (a senior Hamas member)
and the scenes he witnessed after his death. The recruitment of the suicide terrorist was carried out by Ayman
Shakhshir, whom he had met several years earlier when going out for the “Umrah” ceremony. Muhanad Taher
transferred the suicide terrorist tactical instructions for the execution of the attack: instructions for assimilation
purposes, instructions for driving towards Jerusalem, instructions for the activation of the explosive belt and a guide
of the destination. On the day of the attack the suicide terrorist shaved and purchased new clothes (to give him an
Israeli appearance), later in the morning he arrived at Ayman’s house where he strapped on the belt and wore a coat
over it. In the Anata checkpoint area, a person joined him who accompanied him to the area of the target destination.
When he arrived at the station, he boarded the bus with one hand in the pocket where the activation switch was
located. He paid the driver but could not activate the device, was overcome with fear and eventually caught.
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                                     Suicide Terrorists in the Current Conflict


    January 30, 2002: Suicide terrorist detonation on his way to meet an ISA coordinator near Tayibe,
                                                       2 injured

                     The suicide terrorist Marad Abu Asal – a resident of Anabta/Tulkarem, aged 23, boarded a
                     shuttle vehicle on the way to a meeting with an ISA coordinator and detonated himself. The
                     attack was carried out under the planning and direction of the Islamic Jihad operatives Ayad
                     Sualaha and Tarek Izz al-Din and with the assistance of operatives from the Tulkarem area:
                     Muastim Mahluf, Jasser Radar and Fadi Bahti. The suicide terrorist spent the night before
                     the attack with Muastim, who armed him on the morning of the attack according to precise
instructions he received from Ayad Sualaha and then sent him off to the attack.


                                                          ***
               January 27, 2002: Female suicide terrorist detonation on Jaffa St. in Jerusalem,

                                                one killed, 90 injured

                     Wafaa Idris – aged 31, a resident of the Alma’ari refugee camp in Ramallah, divorced,
                     without children due to infertility, worked at the ‘Red Crescent’ organization. The suicide
                     terrorist was an academic and a nurse. Three of the suicide terrorist’s brothers are members of
                     the Fatah organization and the eldest was detained by Israel in the first Intifada. The attack was
                     carried out under the direction of a Tanzim operative from Ramallah. The suicide terrorist was
injured twice as a result of rubber bullets being fired while she was providing medical assistance to injured
Palestinians, a fact which may have served as a motive to carry out the attack. This is the first suicide attack carried
out by a woman in this conflict.
                                                          ***
               January 25, 2002: Suicide terrorist detonation on Neve Sha’anan St. in Tel Aviv

                                                       23 injured




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                                     Suicide Terrorists in the Current Conflict

Safwat Khalil – a resident of Beit Wazan/Nablus, aged 18, detonated himself on Neve Sha’anan St. near the old
central station in Tel Aviv. An additional terrorist who was supposed to carry out a shooting was captured at the site
of the attack. The attack was directed by the Islamic Jihad network in Jenin, and in collaboration with a Fatah
operative, who was supposed to carry out the shooting. Nasser Shawish and Rabi' Abu Rub from the network in
Jenin were the ones who smuggled both terrorists into Israel through Tulkarem in the morning, in cooperation with
Israeli Arab facilitators.


                                                          ***
                       December 15, 2001: Suicide terrorist detonation near a checkpoint south of Tulkarem,
                                                                no casualties

                       The suicide terrorist Muhammad Faraj – a resident of Nur Shams/Tulkarem, aged 28,
                       single, an Islamic Jihad operative, detonated himself about 30m north of checkpoint 105, south
                       of Tulkarem. The attack was carried out in cooperation between the Tanzim and Islamic Jihad
                       organizations in Tulkarem. The suicide terrorist was recruited and prepared for the operation
                       by Riyad Badir, an Islamic Jihad military operative from Tulkarem, in coordination with
Anwar Alyan, a GA [?] military operative from Nur al-Shams and a member of a military cell in the Tulkarem area
(detained).
                                                          ***
                December 12, 2001: 2 Suicide terrorist detonations near Ganei Tel/Gush Katif,

                                                       3 injured

                                                The suicide terrorists




              Ajmad Abu Fiyad                                              Ali Ashour


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                                     Suicide Terrorists in the Current Conflict

Ajmad Abu Fiyad, a resident of Sheikh Hamouda/Gaza, and Ali Ashour, a resident of Khan Yunis, both 22-year-old
students, detonated explosive devices they were carrying in their bags against 2 vehicles traveling to Ganei Tel,
before one of them committed suicide, the terrorist detonated a ground explosive device. The attack was carried out
by the Hamas organization in Khan Yunis, under the direction of Muhammad Deif. Ismail Hamdan served as
Muhammad Dif’s contact person to the rest of the operatives. The most senior operative in Muhammad Dif’s
network in the Khan Yunis area was Abdallah al-Fara, who was seemingly the person behind the attack.


                                                          ***
           December 9, 2001: Suicide terrorist detonation at the Check Post intersection in Haifa,

                                                      30 injured

Nimr Abu Sifin – a resident of Yamun/Jenin, aged 18, carried an explosive belt on his person and detonated
himself among a group of soldiers at the Check Post intersection in Haifa. The explosive device did not fully
detonate, the suicide terrorist sustained heavy injuries as a result of the explosion and was shot dead by police
officers at the scene. A map/sketch was found on his body explaining how to get to Haifa, as well as a Qur’an and a
journey prayer in Arabic. The claiming of responsibility was published by the Islamic Jihad organization. The attack
was carried out by the Islamic Jihad network in Samaria, with the assistance of Tanzim operatives.


                                                          ***
         December 4, 2001: Suicide terrorist detonation near the Mamila Hilton hotel in Jerusalem,

                                                                 5 injured

                    Dawud Sayid – a resident of Artas/Bethlehem, aged 46, married and a father of 8, detonated
                    himself on the corner of David Hamelech Way and Eliyahu Shmaiya in Jerusalem, several
                    meters from the Mamila Hilton hotel. The suicide terrorist had apparently attempted to board a
                    bus but did not manage to do so. The military arm of the Islamic Jihad organization, the
                    “Jerusalem Brigades,” claimed responsibility for the attack. The attack was carried out by the
                    Islamic Jihad network in Bethlehem which is in continuous and direct contact with the Islamic
Jihad headquarters in Damascus. The network commander behind the dispatching of the suicide terrorist to the
attack was Issa Muhammad Isma'il Batat from Bethlehem (detained).




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                                      Suicide Terrorists in the Current Conflict

 December 24, 2001: Suicide terrorist detonation on a bus on Yad Levenim St. in Haifa, 15 killed and 35
                                                          injured

                      Maher Habishi – a resident of Nablus, aged 20, single, detonated himself on an “Egged” bus
                      on route 16 on “Yad Levenim” street, in Haifa’s Lower City. Questioning of the bus driver
                      revealed that the suicide terrorist boarded the bus one stop before the explosion, paid and began
                      moving further into the bus. When the driver called him to give him his change, the suicide
                      terrorist turned around and detonated himself, apparently using an explosive belt as he was not
                      carrying a bag. The Hamas movement claimed responsibility for the attack. The director of the
                      attack was Salim al-Hija, one of the senior members of the Hamas military network in
Samaria. In his interrogation he said that he received the suicide terrorist and prepared him for the attack, while
checking whether the suicide terrorist was really prepared to die, and told him that if he was not ready then it would
be better if he did not depart for the attack. Haja gave the suicide terrorist a briefing of the target location, after
studying the subject, and instructed him not to speak at length with the bus driver.


                                                            ***




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                                     Suicide Terrorists in the Current Conflict

 December 1, 2001: 2 Suicide terrorist detonations on the Ben Yehuda pedestrian street in Jerusalem, 11
                                               killed and 170 injured

                                                The suicide terrorists




                  Osama Bahar                                             Nabil Abu Halabiya

Osama Bahar, aged 25, a member of Hamas in Abu Dis, member of the security committee in the jail and
interrogator of persons suspected of collaboration and Nabil Abu Halabiya, aged 24, known as a General
Intelligence operative, a plasterer by trade, with combat skill knowledge, a resident of Abu Dis, detonated
themselves on the Ben Yehuda pedestrian street in Jerusalem. Around 15 minutes later, a car bomb exploded on
[Ha’Rav] Kook Street near the pedestrian street. The Hamas organization claimed official responsibility for the
attack. Osama approached Farid Atrash (a resident of Abu Dis who served as a communication pipeline between
the Hamas military operations in Ramallah and Jerusalem) and asked him to meet with Jamal Tawil, a senior
Hamas operative from Ramallah, for them to be recruited into the military Hamas. Tawil told Farid that Osama
needs to “arrive at Manara Square in two weeks on Sunday wearing a black jacket and holding a newspaper.” Later,
Tawil passed on Osama’s message to Ibrahim Hamed, one of the heads of the Hamas headquarters in Ramallah,
who, apparently, was recruited for the attack. In the interrogation of Abdallah Jamil, a senior member of the Hamas
network in Ramallah, he said that he had prepared and transferred the [explosive] belts and devices for the attack via
Sayyid Sheikh Qasem, Ibrahim Hamed’s officer of operations. Nabil Abu Halabiya was Osama’s good and close
friend and apparently was recruited for the attack using the method of “a friend brings a friend.” The car bomb that
exploded belonged to Nader Alyan, a resident of Abu Dis, an Islamic Jihad operative, who admitted in his
interrogation that the vehicle, a blue 1987 Opel Kadett, belonged to him, but since he lived in the [Palestinian]
Territories and the vehicle had Israeli license plates, Nader required the assistance of his friend, Murad Abu Ramila
who registered the vehicle under his cousin’s name. Nader sold the car to Nabil and Osama and gave it to them the
day before the attack.




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                                             Israeli Security Agency [logo]


Suicide Terrorists in the Current Conflict

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                                     Suicide Terrorists in the Current Conflict



                 November 29, 2001: Suicide terrorist detonation on a bus next to Camp 80,
                                               3 killed and 8 injured

Samer As'ad Sahwana – a resident of Silat al-Khartiya/Jenin, aged 20, single, religious, detonated himself on
Egged bus no. 823. The explosion occurred near Camp 80. Investigation of the incident revealed that before the
detonation, the bus picked up one passenger from the station at Umm al-Fahm intersection, around 25 years old with
a neat appearance, a small moustache and shaved black hair. The passenger handed the driver two 100 NIS bills and
said “Hadera.” The driver noticed two more people at the station, one of them patted the back of the passenger who
boarded the bus. The passenger walked towards the rear part of the bus and sat down. The driver arrived at Camp 80
intersection, heard a sort of small explosion, stopped, then a mighty explosion occurred. Responsibility for the attack
was claimed by the Islamic Jihad movement. During Operation “Defensive Shield” (April 2002), Thabet Mardawi,
a senior Islamic Jihad military operative from Jenin was arrested, who gave information of the attack in his
interrogation, according to which, Mahmud Tawalba (killed) was arrested by the PA. Before his arrest, Mardawi
had received an explosive belt ready for use from him. He also said that Muhammad Yassin al-Anini (killed)
recruited the suicide terrorist. Mardawi gave Muhammad the explosive belt which was in his possession for two
days before the attack was carried out. Muhammad was the one who photographed the suicide terrorist and the one
who drove him to the Umm al-Fahm area, from which the suicide terrorist was meant to get to the area of a large
city. According to the plan he was not supposed to detonate himself near Camp 80, therefore they were late in
claiming responsibility for the attack.
                                                          ***


                     November 26, 2001: Suicide terrorist detonation at Erez checkpoint,

                                          2 injured border police officers

                   Taysir Al-Ajrami – a resident of Jabalia refugee camp/Gaza, aged 25, married and a father of 3,
                   worked at a sewing workshop for around a month in the Erez industrial zone and apparently
                   gathered information ahead of the attack. In the early hours of the morning while workers were
                   entering the checkpoint, the suicide terrorist arrived and stood in the line for the revolving gate
                   which regulates the workers’ entrance. Several minutes later he activated a device he was
                   carrying in his hands as he was standing next to the post viewing the people entering.
Responsibility was claimed by the Hamas Izz al-Din al-Qassam Brigades.
                                                          ***

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                                     Suicide Terrorists in the Current Conflict



  November 8, 2001: Suicide terrorist detonation during his shooting down in Baqa al-Sharqiyya on his
                    way to carry out a suicide attack, 2 border force police officers injured

                      Mayed Khatib – a resident of Tulkarem, aged 25, a structural engineering student at Bir Zeit
                      [University] and later at Al-Najah [University]. He was responsible for the “Preaching
                      Committee” at the Kutla[Islamic Bloc]. During the operation to capture the suicide terrorist,
                      who was seeking to carry out a suicide attack in the territory of Israel, the suicide terrorist
                      noticed our forces and detonated himself. The Izz al-Din al-Qassam Brigades claimed
                      responsibility for the attack. The attack was carried out by the Hamas network in Nablus,
headed by Yusuf Sorkaji (killed). Other participants in the execution of the attack were Nasim Abu Rus (killed) -
“head engineer” and operational supervisor, Taher Nasser (killed) - dispatcher, Nasr Adin Asida (detained) - front
operator and head of cell/s.


                                                          ***
    October 17, 2001: Suicide terrorist detonation next to an IDF jeep, in the Hurshat Be’eri area in the
                                              Negev, 2 injured soldiers

                     Fuad Abu Sariah – a resident of Gaza, aged 25, single, detonated himself by an unarmored
                     IDF jeep in which there were two scouts performing a reconnaissance at the time. The
                     explosion occurred around 400m east of the border fence, inside Israel. An examination of the
                     area after the incident revealed that the suicide terrorist smuggled himself into Israeli territory,
                     while dressed in IDF uniform, from a border fence area with a small bridge for the transporting
                     water. After crossing the bridge he reached a wood in which he hid, as soon as he recognized
the jeep he ran towards it and detonated himself. The “Popular Front” claimed responsibility for the attack.




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                                     Suicide Terrorists in the Current Conflict



             October 7, 2001: Suicide terrorist detonation near the entrance to Kibbutz Shluhot,
                                                       one killed

Ahmad Draghma – a resident of Tubas/Jenin, aged 17, detonated himself next to the vehicle of a resident of
Kibbutz Shluhot (near Beit She’an) at the entrance to the Kibbutz. Responsibility was claimed by the Islamic Jihad
organization. The attack was carried out by the Islamic Jihad network in Tubas. The interrogation of Thabet
Mardawi by the Israeli Security Agency revealed that Ayman Draghma dispatched the terrorist and gave him a
suitcase weighing 8-10kg for the attack.


                                                           ***
                 September 9, 2001: Suicide terrorist detonation at the Nahariya train station,
                                               3 killed and 46 injured

Shaker Habishi – a resident of Abu Sanan, aged 48, married and a father of 6, detonated himself on the platform of
the Nahariya train station. The Hamas organization claimed responsibility for the attack and published a video tape
in which the suicide terrorist was filmed before his departure for the attack. Around 10 days before the attack, the
suicide terrorist was suspected as a potential terrorist, his photograph was distributed to the police and an attempt to
arrest him was made. The attack was carried out by the Hamas military network in Samaria. Qais Adwan, one of the
heads of the military arm in Samaria (killed) was behind this attack, he recruited the suicide terrorist for the suicide
attack and later provided him shelter after the suicide terrorist fled from his home.


                                                           ***




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                                    Suicide Terrorists in the Current Conflict



               September 4, 2001: Suicide terrorist detonation on Hanevi’im St. in Jerusalem,
                                                     13 injured

                     Raed Barghouthi – a resident of Ramallah, aged 26, single, a teacher, graduate of the Sharia
                     college in Abu Dis, a Hamas operative since the early 90’s, a religious extremist, detonated
                     himself on Hanevi’im St. in Jerusalem while being arrested by border force police officers who
                     suspected him. The Izz al-Din al-Qassam Brigades claimed responsibility for the attack. Eye
                     witness accounts revealed that the suicide terrorist was wearing black trousers, a white shirt and
                     a black kippah, with an ultra-orthodox Jew appearance, carrying a large rucksack on his back.
Walking along with him was another person, Ahed Natsheh, who was injured in the explosion, and who served as
the suicide terrorist’s assistant. The network which executed the attack was the Hamas headquarters network in
Ramallah, which operated using operatives from Ramallah and Jerusalem. In his interrogation at the Israeli Security
Agency Ahed Natsheh said that he had met the cell members and the suicide terrorist at the mosque in el-Bireh two
weeks before the attack, and concluded that the attack would be carried out within a few days. According to the
original plan the attack was supposed to be carried out on Egged bus no. 13 in Jerusalem, and then was changed to
the route 13 bus station. On the day of the attack Ahed met the suicide terrorist at a-Ram intersection and from there
they continued to Jerusalem. In Jerusalem they met with Hamza Qaluti, who gave them the explosive device, and
Ahed led the suicide terrorist to the Klal building area. Examinations revealed that the explosive device for the
attack was prepared by Ahmad Abu Taha and Raed Abu Daher (commander of the cell), and that Raad was
recruited for the attack by Bilal Barghuthi.
                                                         ***
         August 12, 2001: Suicide terrorist detonation at the “Wall Street” café in Kiryat Motzkin,

                                                     16 injured

Muhammad Nasr – a resident of Qabatiya/Jenin, aged 28, single, detonated himself at the “Wall Street” café,
located on Sderot Ben-Gurion in Kiryat Motzkin. Eye witnesses at the scene said that Muhammad wore blue jeans
and a white buttoned shirt and was not carrying a bag. He was acting irritably, with a sort of bandage wrapped
around his body, beneath which electrical wires were protruding. The suicide terrorist pressed on an object he was
holding in his hand which looked like a lighter, and then the explosion occurred. Responsibility for the attack was
claimed by the Islamic Jihad organization. The attack was carried out by the Islamic Jihad’s military organization in
Jenin, headed by Mahmud Nursi.
                                                         ***

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                                     Suicide Terrorists in the Current Conflict

          September 4, 2001: Suicide terrorist detonation at the “Sbarro” restaurant in Jerusalem,
                                              15 killed and 110 injured

Izz al-Din al-Masri – a resident of Aqaba/Jenin, aged 22, single, detonated himself at the “Sbarro” restaurant on
the corner of King George Street and Jaffa Street in Jerusalem. The attack was planned and directed by the Hamas
network in Ramallah. The deadly explosive device was manufactured by Abdallah Jamal, head “Engineer” of the
Hamas network in the Judea area who dealt in the production of the explosive devices and the training of Hamas
operatives in the production of explosive devices and the establishment of explosives laboratories. Jamal concealed
the powerful device inside a guitar, which was placed in a guitar case and provided perfect concealment. The
network which carried out the attack was directed by Bilal Barghuthi, a 27-year-old senior Hamas operative from
Beit Rima. The recruiter and assistant was Muhammad Daghlas, a Hamas military operative aged 24 from Burqa,
who was operated by Barghuthi. Daglas recruited Izz al-Din and the female guider Ahlam Tamimi, aged 20, a
Jordanian who was living in Ramallah, learning in Bir Zeit and working as a journalist. Daghlas bought the guitar in
which the explosive device was concealed as well as a carrying case for the guitar. Tamimi dealt with gathering
information ahead of the attack. Barghuthi met with the suicide terrorist the day before the execution of the attack,
hosted him overnight and offered him hospitality in an apartment in the Ramallah area and went out with him to buy
new clothes. On the day of the attack Daglas received the suicide terrorist at the mosque in el-Bireh and later they
met with Barghuthi, who took them to the operational apartment in the Am’ari refugee camp. At the apartment, Bilal
briefed the suicide terrorist on how to operate the device. As well as this, on the day of the attack Daghlas met with
Tamimi in Ramallah together with the suicide terrorist. Tamimi continued with the suicide terrorist and the device
which was concealed in the guitar to a taxi stand in Ramallah, from which they took a taxi to Jerusalem. Tamimi
carried a camera with her and talked to the suicide terrorist, who was carrying a guitar case, in English, to give
herself the unsuspicious appearance of a tourist.
                                                          ***
   August 8, 2001: Detonation of a car bomb driven by a suicide terrorist near Beqa’ot checkpoint, one
                                                    soldier injured

                      Ashraf Sayyid – a resident of Nablus, aged 23, a Hamas operative, was killed in the
                      detonation of a car bomb near an IDF checkpoint close to Beqa’ot in the Jordan Valley.
                      Debriefing of the forces at the site revealed that the vehicle arrived at the checkpoint and
                      stopped before the concrete blocks. A soldier instructed the driver to come closer for the
                      purpose of an inspection and the latter stepped on the gas pedal and detonated near the soldier.
                      It is likely that the original target destination was different and the suicide terrorist was on his
way to the attack but was worried that the vehicle inspection may disclose him and so decided to carry out the attack
on the spot.




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                                     Suicide Terrorists in the Current Conflict

August 2, 2001: Capturing of a suicide terrorist as he was attempting to board a bus near Beit She’an, no
                                                       casualties

                      Muhammad Abu Khader Basharat – a resident of Tamun/Jenin, originally from Nablus,
                      aged 16, a high school student, was caught as he was attempting to board an Egged bus in Tel
                      Teomim near Beit She’an, for the purpose of carrying out a suicide attack. The suicide
                      terrorist’s bag contained 3 mortars and a silver switch attached with a red wire. His
                      interrogation revealed that the attempted attack was directed by the Islamic Jihad network
                      from Toubas operated by Zayd Basisi (detained). Basisi’s interrogation revealed that Ramzi
Basharat offered the suicide terrorist a recruitment into the Islamic Jihad and then talked to him about carrying out
a suicide attack. Araf Basharat (detained) solicited the execution of the attack and introduced the suicide terrorist to
Zayd Basisi. Fuad Basharat was the one who led the suicide terrorist to the place of the attack.


                                                          ***
July 22, 2001: Capturing of a suicide terrorist as he was attempting to activate an explosive belt at the flea
                                                      market in Haifa, no casualties

                     Murad Tawalba (Nursi) – a resident of Jenin refugee camp, aged 18, was arrested while he
                     was attempting to carry out a suicide attack in Haifa. The suicide terrorist turned in explosive
                     devices he was hiding before he was arrested in an abandoned house in Haifa to the police. In
                     his interrogation the suicide terrorist said that he was interested in carrying out a suicide attack
                     and was linked by his brother Mahmud Tawalba to the Islamic Jihad operatives. In Thabet
                     Mardawi’s interrogation he admitted that the suicide terrorist received an explosive belt which
was prepared by his brother Mahmud Tawalba and was dispatched to Israel by Muhammad Yassin.


                                                          ***




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                                     Suicide Terrorists in the Current Conflict

July 16, 2001: Suicide terrorist detonation at the bus station near the train station in Binyamina, 2 soldiers
                                            killed and 8 injured

                       Nidal Abu Shadouf – a resident of Burqin/Jenin, aged 20, single, detonated himself at the
                       bus station opposite the train station in Binyamina. The directors of the attack were Thabet
                       Mardawi and Mahmud Nursi. Nursi provided a bag weighing 20kg to Muhammad Yassin,
                       who transferred the terrorist and the explosive device to Samir Fayed, a taxi driver from the
                       Jenin refugee camp, who drove the suicide terrorist on his way to Israel.

                                                                      ***

                               July 11, 2001: Suicide terrorist capturing in Afula,
                                                     no casualties

                      Jihad Jarar – a resident of Jenin, aged 17, departed in the morning with a bag containing a
                      prepared explosive device from the Jenin area in the direction of Afula in two taxis, when the
                      second taxi drove around the Salem checkpoint. The local police station was alerted by a
                      police officer who suspected him and carried out a suspect arrest procedure on him. The
                      suicide terrorist attempted to activate the device and moved his hand towards the bag but was
                      physically neutralized by the police officer. In his interrogation he admitted that he was
planning on carrying out a suicide attack in a crowded place in Afula. He also said that he was an Islamic Jihad
operative, and that he had received the device from Mahmud Tawalba (Nursi) along with instructions of its
operation. The suicide terrorist also said that before departing for the attack, he wrote a will and even filmed himself
expressing his intention to carry out a suicide attack. The suicide terrorist was recruited into the Islamic Jihad around
two months before the attack and expressed his intent to carry out an suicide attack.

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                                    Suicide Terrorists in the Current Conflict

                 July 9, 2001: Suicide terrorist detonation in a car bomb in the Gush Katif area,
                                                one soldier injured

                      Nafed Nadar – a resident of Jabalia/Gaza, aged 26, married and a father of 2, a Hamas
                      operative, worked in the Islamic University, detonated himself in a car bomb near an IDF
                      vehicle in the Gush Katif area. Debriefing of the explosives experts revealed that an explosive
                      device weighing around 40 to 50kg was placed in the vehicle, out of which around 10 to 15kg
                      detonated. The attack was carried out by the military arm of the Hamas organization in the
                      Gaza strip, under the direction of Salah Shahada. Shahada’s right hand man and implementor
                      of the attack, Mahmud Mutlaq Issa, was arrested by the apparatus immediately after the
attack.


                                                         ***
          June 22, 2001: Car bomb detonation near an IDF reconnaissance on Shikma Beach/Elei Sinai
                                      2 soldiers killed and one injured

                       Isma'il Ma'aswabi – a resident of the Shati refugee camp/Gaza Strip, aged 22, single, a
                       Hamas operative, a student at the Islamic University, detonated a car bomb near an IDF
                       reconnaissance on Shikma Beach/Elei Sinai. The suicide terrorist, who was driving a white
                       jeep with yellow license plates, became entrenched in the sands near a building, an IDF
                       reconnaissance passing by was alerted by locals for assistance, and when the soldiers
                       approached to help the jeep driver, the jeep was detonated by the suicide terrorist.
                       Information discovered later revealed that the suicide terrorist did not intentionally become
entrenched in the attack area, but probably intended on reaching one of the settlements in the area or even enter
Israeli territory. Mahmud [al-]Ghul traveled with him in the jeep, who escaped from the vehicle 10 minutes before
the detonation. The attack was carried out by the Hamas organization.


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                                     Suicide Terrorists in the Current Conflict

  July 9, 2001: (Partial) suicide terrorist detonation in a cart bomb harnessed to a donkey next to an IDF
                                            post in Dahaniya/Rafah

                       Murad Abu Ma'ilak – a resident of Nazirat refugee camp in the Gaza Strip, aged 23, a
                       student at the Open University in Gaza, approached the Dahaniya settlement gate while riding
                       a donkey with a cart, which was carrying a large water container. When he attempted to
                       activate the explosive device, a partial detonation occurred which knocked it off the cart.
                       When he attempted to flee, he was shot by the checkpoint soldiers and arrested. In his
                       interrogation, the suicide terrorist said that Nabil Sharihi, an Islamic Jihad operative active in
the northern [Gaza] Strip, recruited and dispatched him to an attack after the suicide terrorist approached him on his
own initiative and requested to carry out a suicide attack. The suicide terrorist received 2,500 NIS from Sharihi and
in accordance with his instructions, went to Rafah where he met with a person named Saleh. The two stayed
overnight together and the next day (the day of the attack), they traveled to an orchard near Dahaniya, where the
suicide terrorist received a cart harnessed to a donkey, which contained an explosive device and an activation
mechanism, as well as receiving a briefing on how to carry out the attack.


                                                          ***
June 1, 2001: Suicide terrorist detonation at the entrance to a club in the “Dolphinarium” in Tel Aviv, 22
                                           killed and 83 injured

Sa'id [al-]Hutari – a resident of Qalqiliya (originally from Jordan), aged 22, a Hamas operative, detonated himself
near a group of young people at the entrance to the “Water World” club in the Tel Aviv Dolphinarium. The Hamas
military network in Qalqiliya carried out this attack. The network was established by Salim al-Hija, a 30-year-old
from Nablus, one of the senior members of the Hamas organization in Judea and Samaria and the person responsible
for the organization’s military network in Northern Samaria. At the head of the network, al-Hija placed Abd al-
Rahman Hamad, who he knew from a joint stint in Ayman prison. Mahmud Nadi (detained) was the taxi driver
who drove the suicide terrorist to the Dolphinarium. In his interrogation at the Israeli Security Agency, he said that
Anas Abd al-Karim Dawud, a resident of Qalqiliya, associated with Hamas and with a criminal record, was the
one who coordinated the transport of the suicide terrorist from Qalqiliya to Tel Aviv while being in contact via
telephone with Mahmud and the suicide terrorist throughout the drive.


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                                     Suicide Terrorists in the Current Conflict

      May 29, 2001: Suicide terrorist detonation and the killing of an additional terrorist at “Tofakh”
                                       checkpoint, 2 injured soldiers

                       Abd al-Mu'ti Asar – a resident of Khan Yunis, aged 19, single, a student at the Islamic
                       University, arrived at “Tapuah” checkpoint along with another young man, Isma'il Ashour, a
                       resident of Khan Yunis refugee camp, aged 20, also a student at the Islamic University. The
                       two arrived at the magnometer stand and were requested to show their identity cards. Since
                       they did not hold identity cards they were asked by the soldiers to move away from the
                       station. At this point, the suicide terrorist approached the soldiers and detonated himself,
while Isma'il Ashour retreated a small distance and after the blast approached the soldiers station while throwing
grenades. Isma'il was shot and killed by IDF soldier fire. The attack was carried out by the Hamas organization.


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 May 25, 2001: Car bomb detonation by 2 suicide terrorists at the Hadera central [bus] station, 66 injured

Osama Abu al-Hija – a resident of Jenin refugee camp, aged 22, single, worked at a carpet company, and Ala
Sabah a resident of Jenin, aged 22, single, worked at a fashion store. The two detonated a car bomb at the Hadera
central station. The Islamic Jihad organization claimed responsibility for the attack. The organizers of the attack
were Thabet Mardawi and Mahmud Nursi, who had prepared an explosive vehicle and explosive suitcase, and
departed with them from Barata’a to Israel. This was the first suicide attack (since November 1998 - Jerusalem)
carried out inside Israel by the organization.


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                                     Suicide Terrorists in the Current Conflict

         May 25, 2001: Detonation of a tanker bomb by a suicide terrorist at Netzarim intersection,
                                              no casualties

Husain Abu Nasser – a resident of Jabalia refugee camp/Gaza, aged 22, single, a student at the Islamic University,
an Islamic Jihad operative in the past. Abu Nasser drove a fuel tanker near a military convoy at Netzarim
intersection. IDF forces at Magen post 3 opened fire towards the tanker. Abu Nasser drove off the road, stopped on
one of the post’s mounds, then the explosion of the tanker occurred, with the suicide terrorist seated inside it. At the
front of the truck there were 3 gas cylinders and 48kg of improvised explosive material. Responsibility for the attack
was claimed by Hamas. The attack was directed by Salah Shahada, one of the senior Hamas leaders in the Gaza
Strip region and one of the founders of its military arm.


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          May 18, 2001: Suicide terrorist detonation at the entrance to Hasharon Mall in Netanya,
                                           5 killed and 86 injured

                     Mahmud Marmash – a resident of Tulkarem, aged 21, single, religious, a Hamas operative,
                     detonated himself at the entrance to Hasharon Mall in Netanya. The Hamas organization
                     claimed responsibility for this attack and even published a tape in which the suicide terrorist,
                     Mahmud Marmash, appeared. The attack was carried out by the Hamas network in the
                     Tulkarem area, which was also responsible for the 2 other attacks in Netanya (March 4 and
                     May 18), in which the local operatives of the old mosque in Tulkarem committed suicide. Fuaz
Badran (killed), a Hamas military operative from Tulkarem, recruited the suicide terrorist for the attack. Omar
Khudairi, who served as an assistant for Abbas al-Sayyid (head of the network, detained), was the field person and
mediator between Fuaz and Abbas. Among other things, Abbas instructed Omar to prepare all of the equipment for
filming the suicide terrorist and hand it over to Fuaz.


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                                     Suicide Terrorists in the Current Conflict

 April 29, 2001: Detonation of a car bomb by a suicide terrorist near a bus at Dir Sharaf intersection, no
                                              casualties

Jamal Nasser – a resident of Nablus, aged 23, single, an engineering student at An-Najah University in Nablus, an
operative in “al-Kutla al-Islamiya,” [the Islamic Bloc] detonated a car bomb near a bus transporting school children
at Dir Sharaf intersection. Investigation material revealed that a fault occurred during the attack. A Palestinian
vehicle was driving adjacent to the bus which caused Nasser to hesitate and detonate the vehicle further away from
the bus than planned - which in practice miraculously prevented many casualties. The attack was carried out under
the direction of the Hamas network in Nablus. Abadah Bilal dispatched the suicide terrorist for the attack and the
involvement of Khaled Riyan and Majdi Balasma in the implementation of the attack is known.


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                   April 22, 2001: Suicide terrorist detonation at a bus station in Kfar Saba,
                                           one killed and 45 injured

Imad Zabidi – a resident of Nablus, aged 18, a high school student, detonated an explosive device on his person
near an Egged bus, route 29, which was stopped at a bus station on Tchernichovsky St. in Kfar Saba. Responsibility
for the attack was claimed by the Hamas organization. The attack was carried out by an organization of Hamas
operatives in the Nablus area. The person responsible for the recruitment and dispatching of the suicide terrorist was
Muhanad Taher. In his interrogation, Abd al-Rahman Shadid admitted his involvement in the transport of the
suicide terrorist for the execution of the attack in Kfar Saba. The arrangement of the attack location and the transport
was carried out by Ali Hudairi and the driving was handled by Nihad Abu Qashq, a driver by trade, with an Israeli
ID.


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                                     Suicide Terrorists in the Current Conflict

               March 28, 2001: Suicide terrorist detonation near a gas station in Neve Yamin,
                                           2 killed and 4 injured

Fadi Amer – a resident of Qalqilya, aged 23, single, a Hamas operative, a student at the “Open University” in
Qalqilya, detonated himself at the gas station on route 444 south of Kfar Saba West intersection, near a group of
high school students who were waiting at the gas station for a shuttle to their school in Kedumim. The Hamas
network in Qalqilya was responsible for the execution of the attack. The suicide terrorist was sent by Jabril Jabril
and Tareq Barzili, military Hamas operatives from Qalqiliya. The operatives updated Abd al-Rahman Hamed
(killed) and Raed [al-]Hutari, a senior Hamas operative, regarding the attack, so that they could claim
responsibility for it. Ibrahim Dahmas, a Hamas operational activist in Qalqiliya, also admitted in his interrogation
to having connections with the suicide terrorist and to being aware of the planning of the attack.


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           March 27, 2001: Suicide terrorist detonation next to a bus on French Hill in Jerusalem,
                                                 13 injured

                      Dia Tawil – a resident of el-Bireh/Ramallah, aged 20, single, an engineering student at Bir
                      Zeit University, a Hamas operative, the nephew of Jamal Tawil, a senior Hamas operative in
                      Ramallah. The suicide terrorist detonated himself near an Egged no.6 bus, which was traveling
                      from the French Hill direction eastward. Responsibility for the attack was claimed by the
                      Hamas organization. As of July 2001, a military Hamas network began to be exposed, with it’s
                      center in Samaria and its operations reaching Ramallah. On August 9, 2001, MMS [?]
Ramallah arrested Abdallah Jamal and Bilal Barghuthi, both residents of Beit Rima. In their interrogation at the
Israeli Security Agency they admitted responsibility for the dispatching of the suicide terrorist to the attack. They
also admitted operating an explosives laboratory in Ramallah. Barghuthi was the one who recruited the suicide
terrorist for the attack and then sent him to Nablus to receive the explosive device. The suicide terrorist was sent to
the attack by Ayman Halawa (killed), one of the heads of the Hamas network in Samaria.


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                                     Suicide Terrorists in the Current Conflict

                  March 4, 2001: Suicide terrorist detonation on a central street in Netanya,
                                           3 killed and 53 injured

                      Ahmad Alyan – a resident of Nur al-Shams refugee camp/Tulkarem, aged 23, single, a
                      religious cleric, a muezzin, approached Egged bus no. 22 which was stopped at the traffic light
                      at the intersection of Herzl St. and Shoham St., and detonated himself at a distance of around
                      2-3m from the bus. Around a week before his suicide, the suicide terrorist wrote a will in
                      which he mainly addressed the suicide itself and it was clear that he had been exposed to
                      brainwashing from Hamas in the mosque where he prayed. In the second part of the will the
suicide terrorist divided his inheritance. The attack was carried out by the Hamas network in Tulkarem, led by Fuaz
Badran (killed), and including the involvement of Ahmad Jayusi, a 23-year-old Hamas operative, resident of
Tulkarem (detained), who admitted in his interrogation that he had led the suicide terrorist to the attack and that he
had driven ahead on the route to Netanya.


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                                     Suicide Terrorists in the Current Conflict

 March 1, 2001: Suicide terrorist detonation of an explosive device in a taxi, near Mei Ami intersection,
                                        one killed and 10 injured

                      Zayd Kilani – a resident of Siris/Jenin, aged 28, sat in the back seat of a shuttle taxi (driven
                      by an Israeli citizen from El’ad) on its way from Tel Aviv to Tiberias and activated an
                      explosive device (which was inside a bag) when they ran into an initiated police checkpoint,
                      near Mei Ami intersection. The suicide terrorist sustained heavy injuries in the attack. The
                      suicide terrorist had carried out a stabbing attack in Carmel Market in Tel Aviv on December
                      21, 2000 in which he stabbed and wounded an Israeli citizen while he was shopping in the
market. The day before the attack in the taxi, the suicide terrorist carried out an explosive device attack in Tel Aviv,
leaving an explosive device, which he could not activate, in a Shawarma place in the city (the device was detected
and detonated by an explosives expert). On the same day, the suicide terrorist placed an additional device, near a
group of young people on the Dolphinarium beach in Tel Aviv. The suicide terrorist attempted to activate the device
but the device did not detonate. In his interrogation he said that he had another non-functioning device which he had
intended to take back to the [Palestinian] Territories and use it. This device was activated by him while the vehicle
in which he was traveling was stopped for inspection. All of the attacks were carried out by the suicide terrorist on
behalf of the Hamas organization, under the direction of Qais Adwan Abu Jabal, a resident of Jenin, head of the
Kutla Islamiya in Najah. At a later stage Zid’s girlfriend was arrested, Angelica Yosifov, a Jew living in central
Israel. Angelica said in her interrogation that she was aware of the stabbing attack carried out by the suicide terrorist.
She also knew that he was in possession of two explosive devices. Angelica was with the suicide terrorist during the
placing of the device at the eatery on Allenby St., went with him to the Dolphinarium beach in the knowledge that
he was carrying an explosive device, was with him during the placing of the device and when he attempted to
activate it using a mobile phone. Angelica also knew that the suicide terrorist was in possession of an explosive
device when he boarded the taxi, where the suicide terrorist eventually caused the explosion of the device.


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                                     Suicide Terrorists in the Current Conflict

            January 1, 2001: Car bomb detonation by a suicide terrorist on Herzl St. in Netanya,
                                               35 injured

                      Hamed Abu Hijla – a resident of Nablus, aged 23, single, a structural engineering student at
                      Al-Najah University in Nablus, religious, a “Kutla Islamiya” [Islamic Bloc] operative in [Al-
                      ]Najah [University], detonated a car bomb on Herzl St. in Netanya. Responsibility for the
                      attack was claimed by the Hamas organization in Nablus, headed by Omar Jabrini. Mahmud
                      Madani (killed) was responsible for obtaining and preparing the suicide terrorist for the
                      attack. Faisal Sab'ana, a Hamas military operative from Qabatiya/Jenin was responsible for
the transfer of the suicide terrorist into the “green line” zone. This attack was also based on a network of student
members of “al-Kutla Islamiya” [Islamic Bloc] (the Hamas student cell in Universities), who are traditionally used
to locate military operatives and assistants and make up one of the central pillars of the Hamas network in Samaria.


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             December 22, 2000: Suicide terrorist detonation at Pundak Mehola/Jordan Valley,
                                            3 soldiers injured

                      Hashem Najar – a resident of Hebron, aged 25, single, a journalism student at Al-Najah
                      University in Nablus, head of the “Kutla” [Islamic Bloc] in the Social Sciences faculty,
                      entered a kiosk, after buying [snack] seeds, cola and cigarettes, walked out onto the balcony,
                      approached a group of soldiers and detonated himself a few meters away from them.
                      Responsibility for the attack was claimed by the Hamas organization. The suicide terrorist was
                      recruited into Hamas in 1994 and had been active in the ranks of the organization since. The
attack was apparently carried out by the Hamas network in Nablus. Salim Hija (detained), said in his interrogation
at the Israeli Security Agency that the attack was carried out under the direction of Ayman Halawa (killed) and
Salim himself who located the suicide terrorist. Nader Sawafata (detained), a Hamas operative, also participated in
the implementation of the attack.


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                                      Suicide Terrorists in the Current Conflict

  December 15, 2000: A suicide terrorist attempted to detonate himself next to security forces near Erez
                                       checkpoint, no casualties

                       Nur al-Din Safi – a resident of Shati refugee camp/Gaza, aged 22, single, a Hamas
                       operative, graduate of accountancy studies at the “Islamic University” in Gaza, arrived at
                       Magen 12 after the entrance of Palestinian workers into Erez industrial zone. While passing
                       through the magnometer a beep was heard. The suicide terrorist attempted to activate an
                       explosive belt, and when he was unsuccessful, tried to stab the guard of the place. Following
                       this, the suicide terrorist was shot by the guards and a soldier who were present. There is no
information regarding the organization behind the attack.


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              November 6, 2000: Detonation of a boat near a “Dabur” navy ship next to Rafah,
                                              no casualties

                         Hamdi Miqdad – a resident of Shati refugee camp/Gaza, aged 27, single. Close to
                         midnight, a Palestinian surf boat detonated near a navy vessel which was carrying out a
                         routine reconnaissance of the section of coast by Gaza. The detonation of the boat was
                         around 50 - 60m from the vessel and around 1400m away from the beach. The vessel's
                         soldiers noticed a small surf boat containing 2 covered crates in the prow. The boat had an
                         engine and one person was identified on it who, when identified, crouched and then an
                         explosion was heard. The Hamas movement claimed, in a public receipt of responsibility for
the attack, that this was a suicide attack in which the suicide terrorist was on the boat at the time of its explosion. It
should be noted that this is the first marine attack carried out by the Hamas movement since its
establishment.


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                                       Suicide Terrorists in the Current Conflict

October 26, 2000: Detonation of a suicide terrorist riding a bicycle near an IDF post close to Gush Katif,
                                            1 soldier injured

                        Nabil al-Ara'ir – a resident of Saja'iya Jadida/Gaza, aged 24, single, a student at the “Islamic
                        University” [Islamic Bloc] in Gaza, rode his bicycle on Kisufim road traveling east to west, an
                        IDF soldier who noticed him ordered him to move away and then the explosion occurred. The
                        “Islamic Jihad” organization claimed responsibility for the attack and this is in fact the first
                        attack carried out by the organization in the [Gaza] Strip since April 1997. The attack was
                        carried out on the 5th anniversary of the death of Fathi Shuqaqi, the founder of the
organization. The attack was directed by Mahmud al-Hindi, the Islamic Jihad supervisor in the [Gaza] Strip. The
Islamic Jihad military organization responsible for the attack is from Jabalia refugee camp, headed by Maqlid
Hamid (later killed).


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